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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as personal representative of
   the estate of David Kleiman, and W&K INFO
   DEFENSE RESEARCH, LLC

          plaintiffs,
   v.                                                           Case No. 9:18-cv-80176 (BB/BR)

   CRAIG WRIGHT,

         defendant.
   _____________________________________/



                           JOINT PROPOSED JURY INSTRUCTIONS

          Plaintiffs Ira Kleiman, as the personal representative of the Estate of David Kleiman, and
   W&K Info Defense Research, LLC, and Defendant Craig Wright respectfully submit the following
   joint proposed jury instructions. The parties reserve the right to amend, supplement, or modify
   these Proposed Jury Instructions as the case proceeds.
          Where the parties do not agree on a proposed instruction, that instruction is set forth in
   bold type. Instructions proposed only by Plaintiffs are underlined. Instructions proposed only by
   Defendant are italicized.




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   PRELIMINARY INSTRUCTION TO BE GIVEN TO THE ENTIRE PANEL BEFORE JURY
                               SELECTION

          It is important that you discharge your duties without discrimination, meaning that
   bias regarding the race, color, religious beliefs, national original, sexual identity, disability, or
   gender of the plaintiffs, defendant, any witnesses, and the lawyers should play no part in the
   exercise of your judgment throughout the trial.
          Accordingly, during this voir dire, the questionnaire I have asked you fill out and
   return, and the jury selection process, I [the lawyers] may ask questions [or use demonstrative
   aids] related to the issues of bias and unconscious bias.
   ________________________
   Authorities:

   W.D. Wash., Crim. Jury Instr.—Implicit Bias (modified).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                     General Preliminary Instruction

   Members of the Jury:
           Now that you’ve been sworn, I need to explain some basic principles about a civil trial
   and your duty as jurors. These are preliminary instructions. I’ll give you more detailed
   instructions at the end of the trial.
   The Jury’s duty:
           It’s your duty to listen to the evidence, decide what happened, and apply the law to the
   facts. It’s my job to provide you with the law you must apply—and you must follow the law
   even if you disagree with it. You must decide the case solely on the evidence and the law before
   you and must not be influenced by any personal likes or dislikes, opinions, prejudices,
   sympathy, or biases, including unconscious bias. Unconscious biases are stereotypes, attitudes
   or preferences that people may consciously reject but may be expressed without conscious
   awareness, control or intention. Like conscious bias, unconscious bias too can affect how we
   evaluate information and make decisions.
   What is evidence:
           You must decide the case only on the evidence presented in the courtroom.
           Evidence comes in many forms. It can be testimony about what someone saw, heard, or
   smelled. It can be an exhibit or a photograph. It can be someone’s opinion.
           Some evidence may prove a fact indirectly. Let’s say a witness saw wet grass outside and
   people walking into the courthouse carrying wet umbrellas. This might be indirect evidence that
   it rained, even though the witness didn’t personally see it rain. Indirect evidence like this is also
   called “circumstantial evidence”—simply a chain a set of circumstances that tends to prove a
   fact.
           As far as the law is concerned, it makes no difference whether evidence is direct or
   indirect. You may choose to believe or disbelieve either kind. Your job is to give each piece of
   evidence whatever weight you think it deserves.
   What is not evidence:
           During the trial, you’ll hear certain things that are not evidence and you must not
   consider them.
           First, the lawyers’ statements and arguments aren’t evidence. In their opening statements
   and closing arguments, the lawyers will discuss the case. Their remarks may help you follow


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   each side’s arguments and presentation of evidence. But the remarks themselves aren’t evidence
   and shouldn’t play a role in your deliberations.
           Second, the lawyers’ questions and objections aren’t evidence. Only the witnesses’
   answers are evidence. Don’t decide that something is true just because a lawyer’s question
   suggests that it is. For example, a lawyer may ask a witness, “You saw Mr. Jones hit his sister,
   didn’t you?” That question is not evidence of what the witness saw or what Mr. Jones did –
   unless the witness agrees with it.
           There are rules of evidence that control what the court can receive into evidence. When a
   lawyer asks a witness a question or presents an exhibit, the opposing lawyer may object if he or
   she thinks the rules of evidence don’t permit it. If I overrule the objection, then the witness may
   answer the question, or the court may receive the exhibit. If I sustain the objection, then the
   witness cannot answer the question, and the court cannot receive the exhibit. When I sustain an
   objection to a question, you must ignore the question and not guess what the answer might have
   been.
           Sometimes I may disallow evidence—this is also called “striking” evidence—and order
   you to disregard or ignore it. That means that you must not consider that evidence when you are
   deciding the case.
           I may allow some evidence for only a limited purpose. When I instruct you that I have
   admitted an item of evidence for a limited purpose, you must consider it for only that purpose
   and no other.
   Credibility of Witnesses:
           To reach a verdict, you may have to decide which testimony to believe and which
   testimony not to believe. You may believe everything a witness says, part of it, or none of it.
           When considering a witness’s testimony, you may take into account:
              the witness’s opportunity and ability to see, hear, or know the things the witness is
               testifying about;
              the witness’s memory;
              the witness’s manner while testifying, including limitations caused by disability, if
               any;
              any interest the witness has in the outcome of the case;
              any bias or prejudice the witness may have;


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              any other evidence that contradicts the witness’s testimony;
              the reasonableness of the witness’s testimony in light of all the evidence; and
              any other factors affecting believability.
   At the end of the trial, I’ll give you additional guidelines for determining a witness’s credibility.
   Description of the case:
          The plaintiffs in this case are Ira Kleiman, as the personal representative of the estate
   of David Kleiman, which I will refer to as the “Estate of David Kleiman,” and W&K Info
   Defense Research, LLC, which I will refer to as “W&K.” The defendant is Craig Wright.
          Plaintiffs allege that David Kleiman and Craig Wright entered into a partnership to
   develop and release the original Bitcoin protocol, to mine bitcoin, and to develop blockchain-
   related intellectual property. Plaintiffs also allege that after David Kleiman died, the
   defendant wrongfully took the partnership’s assets, namely bitcoin and blockchain related
   intellectual property, and David kept them for himself.” The Estate of David Kleiman seeks
   to recover their share of those assets in this lawsuit. Plaintiffs further allege that the
   defendant wrongfully seized control of a Florida company owned by David Kleiman, W&K,
   and wrongfully took its assets after David Kleiman died, including intellectual property.
          Craig Wright, the defendant, denies he had a partnership with David Kleiman.
   Defendant further denies that he wrongfully took assets belonging to W&K. The defendant
   also raises legal defenses to some of plaintiffs’ claims.
   Conduct of the Jury:
          While serving on the jury, you may not talk with anyone about anything related to the
   case. You may tell people that you are you’re a juror and give them information about when you
   must be in court. But you must not discuss anything about the case itself with anyone. You
   shouldn’t should not even talk about the case with each other until you begin your deliberations.
   You want to make sure you have you’ve heard everything—all the evidence, the lawyers’
   closing arguments, and my instructions on the law—before you begin deliberating. You should
   keep an open mind until the end of the trial. Premature discussions may lead to a premature
   decision.
          In this age of technology, I want to emphasize that in addition to not talking face-to-face
   with anyone about the case, you must not communicate with anyone about the case by any other
   means. This includes e-mails, text messages, phone calls, and the Internet, including social-



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   networking websites and apps such as Facebook, Instagram, Snapchat, YouTube, Slack,
   Linkedin, Tik Tok, Reddit, and or Twitter. You may not use any similar technology of social
   media, even if I have not specifically mentioned it here.
            You must not provide any information about the case to anyone by any means
   whatsoever, and that includes posting information about the case, or what you are doing in the
   case, on any device or Internet site, including blogs, chat rooms, social websites, or any other
   means.

            You also should not shouldn’t Google or search online or offline for any information
   about the case, the parties, or the law. Don’t read or listen to the news about this case, visit any
   places related to this case, or research any fact, issue, or law related to this case. The law forbids
   the jurors to talk with anyone else about the case and forbids anyone else to talk to the jurors
   about it. It’s very important that you understand why these rules exist and why they are they’re
   so important. You must base your decision only on the testimony and other evidence presented in
   the courtroom. It is not fair to the parties if you base your decision in any way on information
   you acquire outside the courtroom, which is not evidence. For example In addition, the law
   often uses words and phrases in special ways, so it’s important that any definitions you hear
   come only from me and not from any other source. Only you jurors can decide a verdict in this
   case. The law sees only you as fair, and only you have promised to be fair—no one else is so
   qualified.
   Taking Notes:
            If you wish, you may During the trial, you must take notes to help you remember what
   the witnesses said. If you do take notes, please Please don’t share them with anyone until you
   go to the jury room to decide the case. Don’t let note-taking distract you from carefully listening
   to and observing the witnesses. When you leave the courtroom, you should leave your notes
   hidden from view in the jury room. Whether or not you take notes Regardless of the notes you
   have taken, you should rely on your own memory of the testimony. Your notes are there only to
   help your memory. They’re not entitled to greater weight than your memory or impression about
   the testimony.
   Course of the Trial:




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          Let’s walk through the trial. First, each side may make an opening statement, but they
   don’t have to. Remember, an opening statement is not isn’t evidence, and it’s not supposed to be
   argumentative; it’s just an outline of what that party intends to prove.
          Next, the Estate of David Kleiman and W&K plaintiffs will present their witnesses and
   ask them questions. After the plaintiffs they question the a witness, the defendant may ask the
   witness questions—this is called “cross-examining” the witness. Then Craig Wright defendant
   will present his witnesses, and the plaintiffs may cross-examine them. You should base your
   decision on all the evidence, regardless of which party presented it.
          After all the evidence is in presented, the parties’ lawyers will make their closing
   arguments to summarize and interpret the evidence for you, and I will then give you instructions
   on the law.
          You will You’ll then go to the jury room to deliberate.
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, 1.1 (2020); Model 9th Cir. Crim. Instr. 1.1 (modified);
   W.D. Wash., Crim. Jury Instr.—Implicit Bias.

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                        Description of the Case

          This is a civil case. To help you follow the evidence, I’ll summarize the parties’
   positions. Plaintiffs are Ira Kleiman, on behalf of the Estate of Dave Kleiman, and W&K Info
   Defense Research LLC. Dr. Craig Wright is the defendant.
          Ira Kleiman alleges that from about 2008 through February of 2011, the late Dave
   Kleiman and Dr. Wright formed an oral partnership to create and mine bitcoins and develop
   Bitcoin-related intellectual property. Ira Kleiman further alleges that Dr. Wright wrongfully
   took Dave Kleiman’s share of the oral partnership’s bitcoins and intellectual property. Ira
   Kleiman alleges several claims for relief against Dr. Wright: claims for breach of fiduciary
   duty, breach of partnership duties of loyalty and care, civil theft, conversion, unjust
   enrichment, fraud, constructive fraud, and permanent injunction.
          Ira Kleiman alleges that after that oral partnership ended in February of 2011, Dave
   Kleiman created W&K, with Dr. Wright allegedly having some ownership interest in that
   company. W&K alleges that it mined bitcoins and created Bitcoin-related intellectual property,
   and that Dr. Wright wrongfully took Dave Kleiman’s share of W&K’s bitcoins and Bitcoin-
   related intellectual property. W&K alleges several claims for relief against Dr. Wright: claims
   for breach of fiduciary duty, civil theft, conversion, unjust enrichment, fraud, constructive
   fraud, and permanent injunction.
           Dr. Wright denies these allegations because there he did not have a partnership with
   Dave Kleiman to create Bitcoin, mine bitcoins together, or develop Bitcoin-related intellectual
   property together, and Dave Kleiman was never involved in creating the Bitcoin software code
   or developing Bitcoin-related intellectual property. Dr. Wright also denies the allegations
   made by W&K. In addition to denying plaintiffs’ claims, Dr. Wright also has the following
   affirmative defenses: statute of limitations, laches, statute of frauds, payment, set-off, failure
   to mitigate damages, waiver, res judicata, estoppel, accord and satisfaction, and unclean
   hands. I will instruct you about these affirmative defenses later.1
          I will be instructing you on the law and facts the plaintiffs and defendant must prove
   for each claim or affirmative defense at the appropriate moment.


   1
    The Court has granted summary judgment in favor of plaintiffs on several of Dr. Wright’s
   affirmative defenses. See D.E. 615. However, in an abundance of caution, Dr. Wright includes
   jury instructions for those affirmative defenses for appellate purposes.


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   _______________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, 1.1 (2020).

   GIVEN                                          ___________________________
   GIVEN AS MODIFIED                              ___________________________
   WITHDRAWN                                      ___________________________
   GRANTED                                        ___________________________
   DENIED                                         ___________________________




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                                            Burden of Proof
   (Plaintiffs propose giving this instruction where it appears in the Eleventh Circuit Pattern
   Jury Instructions, as part of Instruction 1.1, between Description of the Case and Taking
   Notes.)
          As to most of their claims, the plaintiffs have the burden of proving their case by what
   the law calls a “preponderance of the evidence.” That means they must prove that, in light
   of all the evidence, what they claim is more likely true than not. So, if you could put the
   evidence favoring the plaintiffs and the evidence favoring the defendant on opposite sides of
   balancing scales, the plaintiffs need to make the scales tip to their side. If the plaintiffs fail to
   meet this burden, you must find in favor of the defendant. The plaintiffs also bring claims
   for civil theft. Those claims require a higher burden of proof, which I will instruct you on
   later in these instructions.
          Plaintiffs have the burden of proving their claims. Depending on the claim, plaintiffs
   must either prove their claims by what is called a preponderance of the evidence or by what is
   called clear and convincing evidence. I am going to instruct you about two these burdens of
   proof now. Later, I will instruct you about the claims in this case and tell you what burden of
   proof applies to each claim.
          To decide whether any fact has been proved by a preponderance of the evidence, you
   may – unless I instruct you otherwise – consider the testimony of all witnesses, regardless of
   who called them, and all exhibits that the court allowed, regardless of who produced them.
   After considering all the evidence, if you decide a claim or fact is more likely true than not,
   then the claim or fact has been proved by a preponderance of the evidence.
          Sometimes a party has the burden of proving a claim or defense by clear and
   convincing evidence. This is a higher standard of proof than proof by a preponderance of
   the evidence. It means the evidence must persuade you that the claim or defense is highly
   probable or reasonably certain. This is the standard that applies to the plaintiffs’ civil theft
   claims. The preponderance of the evidence standard applies to the plaintiffs’ other claims.
   Preponderance of the Evidence:
          For a claim that plaintiffs have the burden of establishing by a preponderance of the
   evidence, plaintiffs must prove that what they allege is more likely true than not true. To say it
   differently: if you were to put the evidence favorable to plaintiffs and the evidence favorable to
   defendant on opposite sides of a scale, plaintiffs would have to make the scales tip to their side.

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            To decide whether any fact has been proved by a preponderance of the evidence, you
   may—unless I instruct you otherwise—consider the testimony of all witnesses, regardless of
   who called them, and all exhibits that the court allowed, regardless of who produced them. If
   you find after considering all the evidence that a claim or fact is more likely true than not true,
   then the claim or fact has been proven by a preponderance of the evidence. If plaintiffs fail to
   carry this burden, then you must return a verdict in favor of defendant.
   Clear and Convincing Evidence:
            The clear and convincing evidence standard that you must apply is a higher standard
   than the preponderance of the evidence standard. For a claim that plaintiffs have the burden
   of establishing by clear and convincing evidence, plaintiffs must prove that the claim is highly
   probable or reasonably certain, not merely more likely true than not true. Clear and
   convincing evidence is evidence that is precise, explicit, lacking in confusion, and of such
   weight that it produces a firm belief or conviction, without hesitation, about the matter in
   issue.
   Affirmative Defenses:
            On certain issues, called “affirmative defenses,” the defendant has the burden of proving
   the elements of a defense by a preponderance of the evidence. I will I’ll instruct you on the facts
   that the defendant must prove for any affirmative defense. After considering all the evidence, if
   you decide that the defendant has successfully proven that the required facts are more likely true
   than not true, the affirmative defense is has been proved.


   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, 1.1; Burden of Proof 1.2 (2020)

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                               Stipulations

          Sometimes the parties have agreed that certain facts are true. This Such an agreement is
   called a stipulation. You must treat these stipulated facts as proved for this case.
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Stipulations 2.1 (2020).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                       Judicial Admissions
          I have held that certain statements by the defendant, Craig Wright, in this case
   constitute judicial admissions. They are:
          [List Judicial Admissions Ordered by the Court]
          Judicial admissions are binding and conclusive to establish the facts so admitted.
   There is no need for the plaintiffs to put on evidence of these facts established by judicial
   admission.
   ________________________
   Authorities:

   Best Canvas Prod. & Supplies, Inc. v. Ploof Truck Lines, Inc., 713 F.2d 618, 621 (11th Cir.
   1983); Harrell v. United States, No. 2:16-cv-284-FtM-29MRM, 2020 WL 619580, at *15
   (M.D. Fla. Feb. 10, 2020), appeal dismissed, No. 20-11373-G, 2020 WL 3968274 (11th Cir.
   June 22, 2020); Tri-Lady Marine, Ltd. v. Bishop Mechancial Servs., LLC, No. 16-62467-CIV,
   2018 WL 10466997, at *4 (S.D. Fla. Sept. 20, 2018), aff’d sub nom. Tri-Lady Marine, Ltd. v.
   Bishop Mech. Servs., LLC, 763 F. App’x 882 (11th Cir. 2019); Aquent LLC v. Stapleton, 65
   F. Supp. 3d 1339, 1349 (M.D. Fla. 2014).

   GIVEN                                       ___________________________
   GIVEN AS MODIFIED                           ___________________________
   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




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                                              Jury Questions

          During this trial, you may submit questions to a witness after the lawyers have finished
   their own questioning. Here is how the procedure works: After each witness has testified, and the
   lawyers have asked all their questions, I’ll ask if any of you have questions. If you have a
   question, write it down and give it to the court staff.
          You may submit a question for a witness only to clarify an answer or to help you
   understand the evidence. Our experience with juror questions indicates that jurors rarely have
   more than a few questions for any one witness, and there may be no questions at all for some
   witnesses.
          If you submit a question, the court staff will give it to me, and I’ll share your questions
   with the lawyers in the case. If the rules of evidence allow your question, one of the lawyers or I
   will read your question to the witness. I may modify the form or phrasing of a question so that
   it’s allowed under the evidence rules.
          Sometimes, I may not allow the questions to be read to the witness, either because the
   law does not allow it or because another witness is in a better position to answer the question. If I
   can’t don’t allow the witness to answer a question, you must not draw any conclusions from that
   fact or speculate on what the answer might have been.
          Here are several important things to keep in mind about your questions for the witnesses:
               First, you must submit all questions in writing. Please don’t ask any questions aloud.
               Second, the court can’t re-call witnesses to the stand for additional juror questions. If
                you have a question for a particular witness, you must submit it when I ask.
               Finally, because you should remain neutral and open-minded throughout the trial, you
                should phrase your questions in a way that doesn’t express an opinion about the case
                or a witness. You must keep an open mind until you’ve heard all the evidence, the
                closing arguments, and my final instructions on the law.
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Jury Questions 1.4 (2020).

   GIVEN                                           ___________________________
   GIVEN AS MODIFIED                               ___________________________
   WITHDRAWN                                       ___________________________


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   GRANTED                            ___________________________
   DENIED                             ___________________________




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                                     Interim Statements, Generally

          At times during the trial, the lawyers will address you. You’ll soon hear the lawyers’
   opening statements, and at the trial’s conclusion you’ll hear their closing arguments.
   Sometimes the lawyers may choose to make short statements to you, either to preview
   upcoming evidence or to summarize and highlight evidence they just presented. These
   statements and arguments are the lawyers’ views of the evidence or of what they anticipate the
   evidence will be. They are not evidence.
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Interim Statements 1.5 (2020).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                             Expert Witness

          When scientific, technical or other specialized knowledge might be helpful, a person who
   has special training or experience in that field is allowed to state an opinion about the matter.
          But that doesn’t mean you must accept the witness’s opinion. As with any other witness’s
   testimony, you must decide for yourself whether to rely upon, or give any weight to, the opinion.
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Expert Witness 3.6.1 (2020).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                           Use of Depositions

          A deposition is a witness’s sworn testimony that is taken before the trial. During a
   deposition, the witness is under oath and swears to tell the truth, and the lawyers for each party
   may ask questions. A court reporter is present and records the questions and answers.
          The deposition of [name of witness], taken on [date], is about to be presented to you [by
   video/by reading the transcript]. Deposition testimony is entitled to the same consideration as
   live testimony, and you must evaluate and judge it as if the witness was testifying in court.
          Do not place any significance on the behavior or tone of voice of any person reading
   the questions or answers.
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Trial Instructions: Use of Depositions 2.2 (2020).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                           Use of Recorded Conversations and Transcripts

          Now you’re going to hear [a] recorded conversation[s]. This is proper evidence for you to
   consider. Please listen to it very carefully. I’m going to allow you to have a transcript of the
   recording [prepared by name of preparer] to help you identify speakers and guide you through the
   recording. But remember that it is the recording that is evidence – not the transcript. If you believe
   at any point that the transcript says something different from what you hear on the recording,
   disregard that portion of the transcript and rely instead on what you hear.
          [In this case, there are two transcripts because there is a difference of opinion about
   what is said on the recording. You may disregard any portion of one or both transcripts if
   you believe they reflect something different from what you hear on the recording. It’s what
   you hear on the recording that is evidence – not the transcript.]
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Interim Statements 2.3 (2020).

   GIVEN                                          ___________________________
   GIVEN AS MODIFIED                              ___________________________
   WITHDRAWN                                      ___________________________
   GRANTED                                        ___________________________
   DENIED                                         ___________________________




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                                            Interim Statement

          At the beginning of the trial, I told you that the lawyers might make short statements
   previewing upcoming evidence or summarizing and highlighting evidence that they already
   presented. Right now, [Mr./Ms.] [name of attorney] is going to make a short statement. Please
   remember that the statement you are about to hear—like all statements by the lawyers—is
   [Mr./Ms.] [name of attorney]’s view of the evidence or of what [he/she] anticipates the
   evidence will be, but isn’t itself evidence.
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Interim Statements 2.4 (2020).

   GIVEN                                          ___________________________
   GIVEN AS MODIFIED                              ___________________________
   WITHDRAWN                                      ___________________________
   GRANTED                                        ___________________________
   DENIED                                         ___________________________




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                                             Judicial Notice

           The rules of evidence allow me to accept facts that no one can reasonably dispute as
   true. The law calls this “judicial notice.” I’ve accepted [state the fact that the court has
   judicially noticed] as proved even though no one introduced evidence to prove it. You must
   accept it as true for this case.
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Judicial Notice 2.5 (2020).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                       Use of Demonstratives

          Certain [describe demonstrative exhibit, e.g., models, diagrams, devices, sketches] have
   been shown to you. Those [short description] are used for convenience and to help explain the
   facts of the case. They are not themselves evidence or proof of any facts.

   _________________________
   Authorities:

   See U.S. v. Wood, 943 F.2d 1048, 1053-54 (9th Cir. 1991) (citing U.S. v. Soulard, 730 F.2d 1292,
   1300 (9th Cir. 1984)); see also JURY INSTRUCTIONS COMMITTEE OF THE NINTH
   CIRCUIT, A MANUAL ON JURY TRIAL PROCEDURES § 3.10.A (2013).

   GIVEN                                       ___________________________
   GIVEN AS MODIFIED                           ___________________________
   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




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                           Jury Instruction No. 11: Use of Interrogatories

          You’ll now hear answers that [name of party] gave in response to written questions the
   other side submitted. The questions are called “interrogatories.” Before the trial, [name of party]
   gave the answers in writing while under oath.
          You must consider [name of party]’s answers to as though [name of party] gave the
   answers on the witness stand.
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Use of Interrogatories 2.6 (2020).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                In-Trial Instructions on News Coverage

            Reports about this trial may appear in the media. The reporters may not have heard all the

   testimony as you have, may be getting information from people who are not under oath and subject

   to cross examination, may emphasize an unimportant point, or may simply be wrong.

            You must not read, listen to, or watch anything about this trial. It would violate your oath

   as a juror to decide this case on anything other than the evidence presented at trial and on your

   own common sense. You must decide this case exclusively on the evidence you receive here in

   court.

   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Interim Statements 2.7 (2020).

   GIVEN                                          ___________________________
   GIVEN AS MODIFIED                              ___________________________
   WITHDRAWN                                      ___________________________
   GRANTED                                        ___________________________
   DENIED                                         ___________________________




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                            COURT’S INSTRUCTIONS TO THE JURY

           Members of the jury:
           It is It’s my duty to instruct you on the rules of law that you must use in deciding this
   case.
           When I have finished you will go to the jury room and begin your discussions, also
   which is sometimes called deliberations.

   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Basic Instructions: Introduction 3.1 (2020).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                    The Duty to Follow Instructions – Corporate Party Involved
          Your decision must be based only on the evidence presented here. You must not be
   influenced in any way by either sympathy for or prejudice against anyone.
          You must follow the law as I explain it – even if you do not agree with the law – and
   you must follow all of my instructions as a whole. You must not single out or disregard any
   of the instructions on the law.
          The fact that a limited liability company is involved as a party must not affect your
   decision in any way. A company and all other persons stand equal before the law and must
   be dealt with as equals in a court of justice. When a company is involved, of course, it may
   act only through people as its employees; and, in general, a company is responsible under
   the law for the acts and statements of its employees that are made within the scope of their
   duties as employees of the company.
   ________________________
   Authorities:

   11th Circuit Civil Pattern Jury Instruction 3.2.2; Court’s Instructions to the Jury, Balthazar Mgmt.,
   LLC v. Beale Street Blues Co., No. 9:17-cv-81214-BB (S.D. Fla. Dec. 4, 2018), ECF No. [328], at
   1–2.

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                  Consideration of Direct and
             Circumstantial Evidence; Argument of Counsel; Comments by the Court

          As I said before, you must consider only the evidence that I have admitted in the case.
   Evidence includes the testimony of witnesses and the exhibits admitted. But anything the lawyers
   say is not evidence and isn’t binding on you. You should not shouldn’t assume from anything
   I’ve said that I have any opinion about any factual issue in this case. Except for my instructions
   to you on the law, you should disregard anything I may have said during the trial in arriving at
   your own decision about the facts.
          Your own recollection and interpretation of the evidence is what matters.
          In considering the evidence you may use reasoning and common sense to make
   deductions and reach conclusions. You should not shouldn’t be concerned about whether the
   evidence is direct or circumstantial.
          “Direct evidence” is the testimony of a person who asserts that he or she has actual
   knowledge of a fact, such as an eyewitness.
          “Circumstantial evidence” is proof of a chain of facts and circumstances that tend to
   prove or disprove a fact. There’s no legal difference in the weight you may give to either direct
   or circumstantial evidence.

   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Consideration of Direct and Circumstantial Evidence;
   Argument of Counsel; Comments by the Court 3.3 (2020).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




                                                   27
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                                        Credibility of Witnesses

          When I say you must consider all the evidence, I do not don’t mean that you must accept
   all the evidence as true or accurate. You should decide whether you believe what each witness
   had to say, and how important that testimony was. In making that decision you may believe or
   disbelieve any witness, in whole or in part.
          You must decide the case solely on the evidence and the law before you and must not
   be influenced by any personal likes or dislikes, opinions, prejudices, sympathy or biases,
   including unconscious bias. Unconscious biases are stereotypes, attitudes, or preferences that
   people may consciously reject, but may be expressed without conscious awareness, control, or
   intention. Like conscious bias, unconscious bias, too, can affect how we evaluate information
   and make decisions. You must avoid bias, conscious or unconscious, based on the witness’s
   race, color, religious beliefs, national origin, sexual orientation, gender identity, disability, or
   gender in your determination of credibility. The number of witnesses testifying concerning a
   particular point doesn’t necessarily matter.
          To decide whether you believe any witness, I suggest that you ask yourself a few
   questions:
      1. Did the witness impress you as one who was telling the truth?
      2. Did the witness have any particular reason not to tell the truth?
      3. Did the witness have a personal interest in the outcome of the case?
      4. Did the witness seem to have a good memory?
      5. Did the witness have the opportunity and ability to accurately observe the things he or
          she testified about?
      6. Did the witness appear to understand the questions clearly and answer them directly?
      7. Did the witness’s testimony differ from other testimony or other evidence?



   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Credibility of Witnesses 3.4 (2020); 9th Cir. Crim.
   Instr. 1.1 (modified); W.D. Wash., Crim. Jury Instr.—Implicit Bias.

   GIVEN                                          ___________________________
   GIVEN AS MODIFIED                              ___________________________


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   WITHDRAWN                          ___________________________
   GRANTED                            ___________________________
   DENIED                             ___________________________




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                                         Impeachment of
                            Witnesses Because of Inconsistent Statements

          You should also ask yourself whether there was evidence that a witness testified falsely
   about an important fact. And Also ask yourself whether there was evidence that at some other
   time a witness said or did something, or didn’t say or do something, that was different from the
   testimony the witness gave during this trial.
          But keep in mind that a simple mistake doesn’t mean a witness wasn’t telling the truth as
   he or she remembers it. People naturally tend to forget some things or remember them
   inaccurately. So, if a witness misstated something, you must decide whether it was because of an
   innocent lapse in memory or an intentional deception. The significance of your decision may
   depend on whether the misstatement is about an important fact or an unimportant detail.
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Impeachment of Witnesses Because of Inconsistent
   Statements 3.5.1 (2020).

   GIVEN                                           ___________________________
   GIVEN AS MODIFIED                               ___________________________
   WITHDRAWN                                       ___________________________
   GRANTED                                         ___________________________
   DENIED                                          ___________________________




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                             Responsibility for Proof—Plaintiffs’ Claims

          In this case it is the responsibility of the Estate of David Kleiman and W&K Info
   Defense Research, LLC, or “W&K,” the party bringing any claim to prove every essential
   part of their his or her claims by a “preponderance of the evidence,” except for the civil theft
   claims, which they must prove by clear and convincing evidence. to the standard of proof
   that applies. For some of their claims, plaintiffs must prove their allegations by a
   “preponderance of the evidence.” For plaintiffs’ civil theft claim, they must prove their
   allegations by clear and convincing evidence. This is sometimes called the “burden of proof” or
   the “burden of persuasion.”
   Preponderance of Evidence:
          A “preponderance of the evidence” simply means an amount of evidence that is enough
   to persuade you that the plaintiffs’ claim is more likely true than not true.
          If the proof fails to establish an any essential part of any of plaintiffs’ claims or
   contentions by a preponderance of the evidence, you should find against plaintiffs as to that
   claim the particular claim or contention.
          Since there is more than one claim involved, you You should consider each claim
   separately. You should also understand that each plaintiff must prove each of their claims
   separately.
          In deciding whether any fact has been proven by a preponderance of the evidence, you
   may consider the testimony of all of the witnesses, regardless of who may have called them, and
   all of the exhibits received in evidence, regardless of who may have produced them, along with
   facts stipulated by the parties and the judicial admissions ordered by me.
          If the proof fails to establish any essential part of any of Ira Kleiman or W&K’s claims
   by a preponderance of the evidence, you should find for Dr. Wright as to that particular claim.
   Clear and Convincing Evidence:
          Plaintiffs have the burden of proving their civil theft claim by clear and convincing
   evidence. The clear and convincing standard that you must apply is a higher standard than the
   preponderance of the evidence standard and requires that the plaintiff prove that the claim is
   highly probable or reasonably certain, not merely more likely true than not true. Clear and
   convincing evidence is evidence that is precise, explicit, lacking in confusion, and of such




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   weight that it produces a firm belief or conviction, without hesitation, about the matter in
   issue.
            If the proof fails to establish any essential part of Ira Kleiman or W&K’s civil theft
   claim by clear and convincing evidence, you should find for Dr. Wright as to that particular
   claim.
   _______________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, 1.2; Responsibility for Proof – Plaintiff’s Claims –
   Preponderance of the Evidence 3.7.1 (2020).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                            Responsibility for Proof – Plaintiffs’ Claims –
                                  Clear and Convincing Evidence
          Plaintiffs must prove the elements of their civil theft claims by clear and convincing
   evidence.
          This is a higher standard of proof than proof by a preponderance of the evidence. It
   means the evidence must persuade you that the claim is highly probable or reasonably
   certain.
          If the proof fails to establish an essential part of a plaintiff’s civil theft claim by clear
   and convincing evidence, you should find for the defendant as to that claim.
   _______________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases 3.7.1, 1.2.

   GIVEN                                          ___________________________
   GIVEN AS MODIFIED                              ___________________________
   WITHDRAWN                                      ___________________________
   GRANTED                                        ___________________________
   DENIED                                         ___________________________




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                                    Responsibility for Proof—
                       Affirmative Defenses—Preponderance of the Evidence

          In this case, the defendant Dr. Wright asserts the affirmative defenses of statute of
   frauds, statute of limitations, estoppel, and laches, waiver, release, good faith, payment, set-off,
   failure to mitigate damages, unclean hands, res judicata and collateral estoppel.2 Even if the
   Estate of David Kleiman or Ira Kleiman and W&K prove a claim their claims, the defendant
   Dr. Wright can prevail on that claim in this case if he proves an affirmative defense to that
   claim by a preponderance of the evidence.
          When more than one affirmative defense applies to a claim Since more than one
   affirmative defense is involved, you should consider each one separately. However, you should
   consider each affirmative defense only as to the claim of claims to which it is directed.
          I caution you that the defendant Dr. Wright does not have to disprove the plaintiffs’ Ira
   Kleiman and W&K’s claims, but if the defendant Dr. Wright raises an affirmative defense, the
   only way he can prevail on that specific defense is if he proves it that defense by a
   preponderance of the evidence. Similarly, if the proof fails to establish an essential part of any of
   the defendant’s affirmative defenses by a preponderance of the evidence, you should find against
   the defendant on that affirmative defense.
   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Responsibility for Proof – Affirmative Defenses –
   Preponderance of the Evidence 3.7.2 (2020).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




   2
    The Court has granted summary judgment in favor of plaintiffs on several of Dr. Wright’s
   affirmative defenses. See D.E. 615. However, in an abundance of caution, Dr. Wright includes
   jury instructions for those affirmative defenses for appellate purposes.


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                                            Expert Witness

          When scientific, technical, or other specialized knowledge might be helpful, a person
   who has special training or experience in that field is allowed to state an opinion about the
   matter.
          But that does not mean you must accept the witness’s opinion. As with any other

   witness’s testimony, you must decide for yourself whether to rely upon the opinion.

   ________________________
   Authorities:

   11th Circuit Civil Pattern Jury Instruction 3.6.1; Court’s Instructions to the Jury, Balthazar Mgmt.,
   LLC v. Beale Street Blues Co., No. 9:17-cv-81214-BB (S.D. Fla. Dec. 4, 2018), ECF No. [328], at
   4–5.

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                              Spoliation

          Dr. Wright claims that Ira Kleiman, as the personal representative of the estate of Dave
   Kleiman, engaged in spoliation of evidence. The term “spoliation” refers to a party’s failure to
   preserve evidence. A party has a duty to preserve evidence when litigation is reasonably
   foreseeable and that duty continues after a lawsuit is filed. Therefore, Ira Kleiman had a duty
   to preserve evidence when this case was “reasonably foreseeable,” and that duty continued
   when he filed this case on February 14, 2018.
          Dr. Wright claims that Ira Kleiman destroyed or otherwise caused Dave Kleiman’s
   papers and computer hard drives to be unavailable, while they were within his possession,
   custody, or control. Dr. Wright further claims that Dave Kleiman’s papers and hard drives
   would have been material in deciding disputed issues in this case, including whether there was
   an oral partnership between Dave Kleiman and Dr. Wright to mine bitcoins and develop
   bitcoin-related intellectual property.
          If you determine that Ira Kleiman engaged in spoliation of evidence, then you may, but
   are not required to, infer that this evidence would have been unfavorable to Ira Kleiman. You
   may consider this, together with the other evidence, in determining the issues of the case.
   ________________________
   Authorities:

   Fla. Standard Jury Instructions in Civil Cases, Failure to Maintain Evidence or Keep a Record
   301.11; Graff v. Baja Marine Corp., 310 Fed. Appx. 298, 310 (11th Cir. 2009); In Matter of
   Complaint of Bos. Boat III, LLC, 310 F.R.D. 510, 515 (S.D. Fla. 2015); In re Abilify
   (Aripiprazole) Prod. Liab. Litig., 2018 WL 4856767, at *2 (N.D. Fla. 2018); McBride v. Coca-
   Cola Refreshments, USA, Inc., 2012 WL 12915435 (M.D. 2012); Kraft Reinsurance Ireland, Ltd.
   v. Pallets Acquisitions, LLC, 845 F. Supp. 2d 1342, 1358 (N.D. Ga. 2011).


   GIVEN                                       ___________________________
   GIVEN AS MODIFIED                           ___________________________
   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




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                                               Spoliation

          The plaintiffs allege that the defendant is responsible for the spoliation and
   fabrication of evidence. The term “spoliation” refers to the intentional destruction,
   alteration, fabrication, or concealment of evidence. You may consider whether the
   defendant intentionally concealed, altered, fabricated, or destroyed evidence. If you decide
   that he did so, you may decide that the evidence would have been unfavorable to him.
   ________________________
   Authorities:

   Judicial Council of California Civil Jury Instructions, Instruction 204 (2017 ed.); Order, ECF [No.
   595], at 37 (concluding that the issues raised in Plaintiffs’ Sanctions Motion should be for the jury
   to decide); see Flury v. Daimler Chrysler Corp., 427 F.3d 939, 943 n.9 (11th Cir. 2005) (court
   concluded spoliation instruction was too weak and entered default for destruction of evidence as a
   matter of law).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                            Duty to Deliberate

   (Plaintiffs propose to instruct the jury on Duty to Deliberate and Election of Foreperson at
   the end of the jury instructions, following the instructions on claims, affirmative defenses,
   and damages, not at the beginning of the post-trial instructions.)

          In your deliberations, you will consider and decide distinct claims and affirmative
   defenses. Although these claims and affirmative defenses had been tried together, each is
   separate from the others, and each party is entitled to have you separately consider each claim
   and affirmative defense as it affects that party. Therefore, in your deliberations, you should
   consider the evidence as it relates to each claim and affirmative defense separately, as you
   would had each claim and affirmative defense had been tried before you separately.
          Of course, the fact that I have given you instructions concerning the issue of the
   plaintiffs’ Ira Kleiman’s and W&K’s damages should not be interpreted in any way as an
   indication that I believe that the plaintiffs they should, or should not, prevail in this case.
          You must decide the case solely on the evidence and the law before you and must not
   be influenced by any personal likes or dislikes, opinions, prejudices, sympathy or biases,
   including unconscious bias. Unconscious biases are stereotypes, attitudes, or preferences that
   people may consciously reject, but may be expressed without conscious awareness, control, or
   intention. Like conscious bias, unconscious bias, too, can affect how we evaluate information
   and make decisions.
          Your verdict must be unanimous – in other words, you must all agree. Your deliberations
   are secret, and you’ll never have to explain your verdict to anyone.
          Each of you must decide the case for yourself, but only after fully considering the
   evidence with the other jurors.
          So, you must discuss the case with one another and try to reach an agreement. While you
   are you’re discussing the case, do not don’t hesitate to reexamine your own opinion and change
   your mind if you become convinced that you were wrong. But do not don’t give up your honest
   beliefs just because others think differently or because you simply want to get the case over with.
          Remember that, in a very real way, you’re judges – judges of the facts. Your only interest
   is and duty are to seek the truth from the evidence in the case.




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   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases, Duty to Deliberate When Only the Plaintiffs Claim
   Damages 3.8.1 (2020); Model 9th Cir. Crim. Instr. 1.1 (modified); W.D. Wash., Crim. Jury
   Instr.—Implicit Bias.

   GIVEN                                        ___________________________
   GIVEN AS MODIFIED                            ___________________________
   WITHDRAWN                                    ___________________________
   GRANTED                                      ___________________________
   DENIED                                       ___________________________




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                      Election of a Foreperson—Explanation of Verdict Form

          When you get to the jury room, choose one of your members to act as foreperson. The
   foreperson will direct your deliberations and speak for you in court.
          A verdict form has been prepared for your convenience.


                                            [Explain verdict]


          Take the verdict form with you to the jury room. When you have you’ve all agreed on the
   verdicts, your foreperson must fill in the form, sign and date it. Then you will you’ll return it to
   the courtroom.
          If you wish to communicate with me at any time, please write down your message or
   question and give it to the court security officer, who will bring it to me. The court security
   officer will bring it to me, and I’ll respond as promptly as possible—either in writing or by
   talking to you in the courtroom. Please understand that I may have to talk to the lawyers and the
   parties before I respond to your question or message, so you should be patient as you await my
   response. But I caution you not to tell me how many jurors have voted one way or the other at
   that time. That type of information should remain in the jury room and not be shared with
   anyone, including me, in your note or question.

   ________________________
   Authorities:

   11th Cir. Pattern Jury Instr. Civil Cases. Election of a Foreperson, Explanation of Verdict Form
   3.9 (2020).

   GIVEN                                          ___________________________
   GIVEN AS MODIFIED                              ___________________________
   WITHDRAWN                                      ___________________________
   GRANTED                                        ___________________________
   DENIED                                         ___________________________




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                                  Definition of an Oral Partnership

          Ira Kleiman claims that Dr. Wright and David Kleiman entered into an oral
   partnership to mine bitcoins and develop Bitcoin-related technology. Ira Kleiman alleges that
   this oral partnership lasted from sometime in 2008 until February of 2011. Again, Dr. Wright
   denies that such an oral partnership existed.
          Under Florida law, an oral partnership may exist when two or more persons join
   together in a business or venture. Although not based on a written contract, an oral
   partnership must include each of the following elements, the specifics of which are known and
   agreed to by each partner:
          (1) a common purpose;
          (2) a joint proprietary interest in the subject matter or purpose of the oral partnership;
          (3) the right to share profits and the duty to share losses; and
          (4) joint control or right of control over the oral partnership.
          Plaintiffs must prove each of these elements by a preponderance of the evidence to
   establish the existence of an oral partnership.
   _______________________
   Authorities:

   Williams v. Obstfeld, 314 F.3d 1270, 1275 (11th Cir. 2002); Dreyfuss v. Dreyfuss, 701 So. 2d
   437, 438-39 (Fla. 3d DCA 1997).

   GIVEN                                        ___________________________
   GIVEN AS MODIFIED                            ___________________________
   WITHDRAWN                                    ___________________________
   GRANTED                                      ___________________________
   DENIED                                       ___________________________




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                                        Partnership – Breach

          The Estate of David Kleiman has brought a claim against the defendant for breach of
   partnership. Specifically, the Estate claims that David Kleiman and Craig Wright formed a
   partnership to develop the original Bitcoin protocol, to mine bitcoin, and to develop related
   blockchain technology. The Estate further alleges that no assets of the partnership were
   distributed to it after David Kleiman’s death. The defendant does not dispute that no assets
   were distributed. Instead, he claims that there was no partnership and therefore no
   distribution was required.
          Accordingly, you will be asked to determine two questions on this claim:
              1) Whether there was a partnership between David Kleiman and the defendant,
                 and whether the defendant breached his duties to the partnership? And, if so;
              2) What portion of the partnership’s assets are now owed to the Estate of David
                 Kleiman?


   _______________________
   Authorities:

   Fla. Stat. §§ 620.8202, 620.8401; Court’s Instructions to the Jury, Balthazar Mgmt., LLC v. Beale
   Street Blues Co., No. 9:17-cv-81214-BB (S.D. Fla. Dec. 4, 2018), ECF No. [328], at 15–16.

   GIVEN                                       ___________________________
   GIVEN AS MODIFIED                           ___________________________
   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




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                                        Partnership – Defined

          On the first question, I instruct you that a “partnership” means an association of two
   or more persons to carry on as co-owners of a business for profit. It is not necessary for the
   Estate of David Kleiman to prove that David Kleiman and Craig Wright even intended to
   form a partnership. Instead, the Estate of David Kleiman must prove by a preponderance of
   the evidence that David Kleiman and Craig Wright had an association to carry on as co-
   owners of a business for profit.


   _______________________
   Authorities:

   Fla. Stat. § 620.8202 (“Except as otherwise provided in subsection (2), the association of two or
   more persons to carry on as co-owners a business for profit forms a partnership, whether or not
   the persons intend to form a partnership.”); Jackson-Shaw Co. v. Jacksonville Aviation Auth., 8
   So. 3d 1076, 1090 (Fla. 2008) (“Under Florida’s Revised Uniform Partnership Act . . . a person
   who receives a share of the business’s profits is presumed to be a partner, unless the profits were
   received in payment of rent, among other things.”); Rafael J. Roca, P.A. v. Lytal & Reiter, Clark,
   Roca, Fountain & Williams, 856 So. 2d 1, 6 (Fla. 4th DCA 2003) (finding the existence of
   partnership based on the sharing of profits among the parties); Court’s Instructions to the Jury,
   Balthazar Mgmt., LLC v. Beale Street Blues Co., No. 9:17-cv-81214-BB (S.D. Fla. Dec. 4,
   2018), ECF No. [328], at 15–16; Florida Standard Jury Instructions in Civil Cases 401.14(d) (“A
   partnership exists when two or more persons join together or agree to join together in a business
   or venture for their common benefit, each contributing property, money or services and each
   having an interest in any profits.”); 1 Florida Forms of Jury Instruction § 13.03 cmt. (2020);
   Derrick Hibbard, Bus. Litig. in Fla. § 18.2 (10th ed. 2020) (“if there is no partnership agreement,
   the Act [RUPA] will control”).

   GIVEN                                        ___________________________
   GIVEN AS MODIFIED                            ___________________________
   WITHDRAWN                                    ___________________________
   GRANTED                                      ___________________________
   DENIED                                       ___________________________




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                                          Partnership – Assets

          If you find that there was a partnership between David Kleiman and Craig Wright,
   you will then have to determine the assets of that partnership, and what share of those assets
   belonged to David Kleiman, and are now owed to his Estate.
          On the issue of determining the respective parties’ ownership share in the
   partnership, I instruct you that in the absence of a contrary agreement among the partners,
   the partners in a partnership are entitled to share equally in the assets and profits of the
   partnership.
          Further, on the issue of what assets are owed to the Estate of David Kleiman, I instruct
   you that if rather than winding up the partnership’s business following the death of his
   partner, the surviving partner continues the partnership business with partnership assets,
   then the surviving partner acts as a trustee for the deceased partner. As a trustee, the
   surviving partner is required to administer the portion of the partnership assets belonging
   to the deceased partner solely in the interests of the deceased partner’s estate, and not the
   interests of the surviving partner. The surviving partner must administer the partnership
   assets belonging to the deceased partner as a prudent person would in light of the
   circumstances, exercising reasonable care, skill, and caution.
          Furthermore, the surviving partner is required to account to the deceased partner’s
   estate and provide a list of the partnership assets to the deceased partner’s heirs. The
   rationale underlying the rule is based upon the surviving partner’s superior knowledge: A
   surviving partner does not deal at arms-length with the heirs of a deceased partner but must
   make an open and full disclosure to them. The heirs are at a big disadvantage in dealing with
   the surviving partners, lacking knowledge of the extent of the partnership property or
   information about the amount of business done or the value of the partnership.


   _______________________
   Authorities:

   Fla. Stat. §§ 620.8202 (defining formation of partnership), 620.8401(2) (“Each partner is entitled
   to an equal share of the partnership profits and is chargeable with a share of the partnership losses
   in proportion to the partner’s share of the profits.”), 620.8404 (fiduciary duties of partner),
   620.8807 (settlement of accounts and dissolution), 736.0802 (trustee duty of loyalty), 736.0804
   (prudent administration by trustee); Matter of Estate of Thomas, 532 N.W.2d 676, 684 (N.D.
   1995); Biers v. Sammons, 242 So. 2d 158, 161 (Fla. 3d DCA 1970) (duties to account and act as


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   trustee for deceased partner’s estate); Hilgendorf v. Denson, 341 So. 2d 549, 551 (Fla. 1st DCA
   1977) (same); Omnibus Order, ECF No. [615], at 76; Court’s Instructions to the Jury, Balthazar
   Mgmt., LLC v. Beale Street Blues Co., No. 9:17-cv-81214-BB (S.D. Fla. Dec. 4, 2018), ECF No.
   [328], at 15–16; Account, Black's Law Dictionary (11th ed. 2019); 24 Fla. Jur. P’ship § 175; 40
   Am. Jur. P’ship § 368.

   GIVEN                                      ___________________________
   GIVEN AS MODIFIED                          ___________________________
   WITHDRAWN                                  ___________________________
   GRANTED                                    ___________________________
   DENIED                                     ___________________________




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                                        Partnership – Duties

          Partners in a partnership owe duties to each other and to the partnership. These
   duties include a duty of care, a duty of loyalty, and an obligation of good faith and fair
   dealing.


   _______________________
   Authorities:

   Fla. Stat. §§ 620.8404(1), 620.8404(4).

   GIVEN                                      ___________________________
   GIVEN AS MODIFIED                          ___________________________
   WITHDRAWN                                  ___________________________
   GRANTED                                    ___________________________
   DENIED                                     ___________________________




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                                   Partnership – Duty of Care

          Under the duty of care, a partner must not engage in grossly negligent or reckless
   conduct, intentional misconduct, or a knowing violation of law.

   _______________________
   Authorities:

   Fla. Stat. § 620.8404(3).

   GIVEN                                     ___________________________
   GIVEN AS MODIFIED                         ___________________________
   WITHDRAWN                                 ___________________________
   GRANTED                                   ___________________________
   DENIED                                    ___________________________




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                                 Partnership – Duty of Loyalty

          Under the duty of loyalty, a partner must account to the partnership and hold as
   trustee for the partnership any property, profit, or benefit derived by the partner in the
   conduct and winding up of the partnership business or derived from a use by the partner of
   partnership property, including the appropriation of a partnership opportunity.

   _______________________
   Authorities:

   Fla. Stat. § 620.8404(2).

   GIVEN                                    ___________________________
   GIVEN AS MODIFIED                        ___________________________
   WITHDRAWN                                ___________________________
   GRANTED                                  ___________________________
   DENIED                                   ___________________________




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                     Partnership – Obligation of Good Faith and Fair Dealing

          A partner must discharge his duties to the other partner and to the partnership, and
   act in a manner that does not frustrate the agreed common purpose of the parties and deprive
   the other party of the benefits of the agreement.

   _______________________
   Authorities:

   Fla. Stat. § 620.8404(4); Mount Sinai Med. Ctr. of Greater Miami, Inc. v. Heidrick & Struggles,
   Inc., 329 F. Supp. 2d 1309, 1313 (S.D. Fla. 2004), aff’d, 188 F. App’x 966 (11th Cir. 2006).

   GIVEN                                       ___________________________
   GIVEN AS MODIFIED                           ___________________________
   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




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                      Fiduciary Duty to W&K Info Defense Research, LLC

          W&K claims that the defendant breached his fiduciary duties to it by fraudulently
   procuring a judgment against it in Australia following David Kleiman’s death, using that
   judgment to claim ownership over W&K’s assets, and then using those assets for his benefit.
          There are two issues for your determination on this claim:
          1. Did Craig Wright owe a fiduciary duty to W&K? If so;
          2. Did he breach that duty?
          On the first issue, whether Craig Wright owed W&K a fiduciary duty, W&K must
   prove the following by a preponderance of the evidence:
          1. A relationship existed between W&K and the defendant;
          2. The defendant was in a position of trust with respect to the W&K’s financial or
             property interests; and
          3. The defendant accepted that trust.

   ________________________
   Authorities:

   Florida Standard Jury Instructions for Contract and Business Cases 451.4; Silver v. Countrywide
   Home Loans, Inc., 760 F. Supp. 2d 1330, 1338 (S.D. Fla. 2011) (citing Doe v. Evans, 814 So. 2d
   370, 374 (Fla. 2002)), aff’d, 483 F. App’x 568 (11th Cir. 2012).

   GIVEN                                      ___________________________
   GIVEN AS MODIFIED                          ___________________________
   WITHDRAWN                                  ___________________________
   GRANTED                                    ___________________________
   DENIED                                     ___________________________




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                 Breach of Fiduciary Duty to W&K Info Defense Research, LLC

          If you find that Craig Wright owed a fiduciary duty to W&K, you will then consider
   the issue of whether he breached that duty.
          A fiduciary duty imposes a duty to act with the utmost good faith in the best interests
   of the company. This includes the duty to refrain from self-dealing, the duty of loyalty, the
   duty to disclose material facts, and the overall duty not to take unfair advantage and to act
   in the best interest of the company.
          To prove a breach of a fiduciary duty, W&K must show:
             1) That the defendant breached a fiduciary duty by misappropriating W&K’s
                 intellectual property, bitcoin, and/or forked assets; and
             2) That this breach was a legal cause of damages to W&K.


   ________________________
   Authorities:

   Florida Pattern Jury Instructions for Contract and Business Cases 451.5, 451.10; Pediatric
   Nephrology Assocs. of S. Fla. v. Variety Children’s Hosp., 226 F. Supp. 3d 1346, 1356 (S.D. Fla.
   2016); Gracey v. Eaker, 837 So. 2d 348 (Fla. 2002).

   GIVEN                                       ___________________________
   GIVEN AS MODIFIED                           ___________________________
   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




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                               Definition of a Limited Liability Company
          A limited liability company, or LLC, is a business structure whereby the owners are not
   personally liable for the company’s debts or liabilities. An LLC combines some characteristics
   of a corporation with those of a partnership. LLCs are managed by their members unless
   explicitly stated otherwise in an operating agreement or formation document.
          An LLC that has been administratively dissolved continues in existence but may only
   carry on activities necessary to wind up its activities and affairs, liquidate and distribute its
   assets, and notify claimants.

   _______________________
   Authorities:


   Fla. Stat. §§ 605.0304(1), 605.0407(1)(a); Fla. Stat. § 605.0714; Jackson-Shaw Co. v.
   Jacksonville Aviation Auth., 8 So. 3d 1076, 1089 (Fla. 2008).


   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                              Conversion

          Ira Kleiman claims that Dr. Wright is responsible for the conversion, or wrongful
   taking, of bitcoins and Bitcoin-related intellectual property that belonged to the alleged oral
   partnership between Dave Kleiman and Dr. Wright, which allegedly existed from sometime in
   2008 through February 2011.
          W&K, which was formed in February 2011 and administratively dissolved in 2012,
   claims that Dr. Wright is responsible for the conversion, or wrongful taking, of bitcoins and
   Bitcoin-related intellectual property that belonged to it.
          Conversion means a distinct act of control wrongfully asserted over another’s personal
   property in a manner that is inconsistent with the other’s right to that property. There are a
   number of ways that conversion can occur, such as intentionally dispossessing another of the
   property, using the property without authority, or disposing of the property by selling,
   pledging, gifting, or leasing it.
   Structure of Claim:
          To establish this claim, the Ira Kleiman and W&K must each prove, by a
   preponderance of the evidence, that:
          (1) Dr. Wright wrongfully asserted dominion over bitcoins and intellectual property;
          (2) This property belonged to Dave Kleiman’s estate and W&K, respectively; and
          (3) Dr. Wright’s action was inconsistent with the estate’s or W&K’s ownership.
          Also, in an action for conversion of money, such as bitcoins, the money must be
   specific money that is capable of identification and not simply a general assertion over an
   amount of money owed.
          If you find that Ira Kleiman and W&K failed to prove, by a preponderance of the
   evidence, each element of conversion, you must return a verdict in favor of Dr. Wright. On the
   other hand, if you find for one or both of the plaintiffs on the claim of conversion, you will
   then consider the issue of the amount of money damages to be awarded to Ira Kleiman and
   W&K, separately. The damages must be the specific bitcoins and intellectual property that
   plaintiffs have identified, rather than just a general claim for an amount of bitcoins or
   unspecified intellectual property.




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   Punitive Damages:
          Under Florida law, you may also award punitive damages for a conversion claim. An
   award of punitive damages may not exceed the greater of three times the amount of
   compensatory damages awarded to each claimant entitled thereto, or $500,000.
          Punitive damages are a form of extraordinary relief for acts and omissions so
   egregious as to jeopardize not only the particular plaintiff in the lawsuit, but the public as a
   whole, such that a punishment—not merely compensation—must be imposed to prevent
   similar conduct in the future.
          You may only award punitive damages if you determine, based on clear and convincing
   evidence, that Dr. Wright personally committed intentional misconduct or gross negligence,
   which was the proximate cause of the plaintiffs’ loss.
          “Intentional misconduct” means that Dr. Wright had actual knowledge of the
   wrongfulness of his conduct and the high probability that injury to Dave Kleiman’s estate and
   W&K would result and, despite that knowledge, intentionally pursued that course of conduct.
   “Gross negligence” means that the conduct was so reckless that it constituted a conscious
   disregard or indifference to the life, safety, or rights of Dave Kleiman’s estate and W&K.
   Please remember that the clear and convincing evidence standard that you must apply is a
   higher standard than the preponderance of the evidence standard, and requires you to
   conclude that the claim is highly probable or reasonably certain, not merely more likely true
   than not true. Clear and convincing evidence is evidence that is precise, explicit, lacking in
   confusion, and of such weight that it produces a firm belief or conviction, without hesitation,
   about the matter in issue.



   ________________________
   Authorities:

   Joe Hand Promotions, Inc. v. Creative Enter., LLC, 978 F.Supp.2d 1236, 1241 (M.D. Fla. 2013)
   (quoting Joe Hand Promotions, Inc. v. Hart, 2012 WL 1289731, *2-3 (S.D. Fla. 2012));BDO
   Seidman, LLP v. Banco Espirito Santo Int’l, 38 So. 3d 874, 876 (Fla. 3d DCA 2010); Warshall v.
   Price, 629 So.2d 903, 904 (Fla. 4th DCA 1993); Navid v. Uiterwyk Corp., 130 B.R. 594, 595
   (M.D. Fla. 1991); Fla. Stat. §§ 768.72; Florida Standard Jury Instructions in Civil Cases,
   Personal Injury and Property Damages: Introduction 501.1(b); Punitive Damages – Non-
   Bifurcated Procedure 503.2, August 29, 2019.




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   GIVEN                              ___________________________
   GIVEN AS MODIFIED                  ___________________________
   WITHDRAWN                          ___________________________
   GRANTED                            ___________________________
   DENIED                             ___________________________




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                                            Conversion

          The Estate of David Kleiman and W&K bring a claim for conversion against the
   defendant. They claim that the defendant wrongfully exercised control over the property of
   David Kleiman and the property of W&K.
          A successful claim for conversion requires the Estate of David Kleiman or W&K to
   prove the following by a preponderance of the evidence:
             1) An act of dominion or ownership wrongfully asserted by the defendant;
             2) Over property of the partnership, the Estate of David Kleiman, or W&K;
             3) Inconsistent with their ownership or right to possess that property.


   ________________________
   Authorities:

   Joe Hand Promotions, Inc. v. Hart, No. 11-80971-CIV, 2012 WL 1289731, at *2 (S.D. Fla. Apr.
   16, 2012); Ginsberg v. Lennar Fla. Holdings, Inc., 645 So. 2d 490, 500 (Fla. 3d DCA 1994);
   Warshall v. Price, 629 So. 2d 903, 904 (Fla. 4th DCA 1993), rev. denied, 641 So. 2d 1346 (Fla.
   1994); Shelby Mutual Ins. v. Crain Press, 481 So.2d 501, 503 (Fla. 2d DCA 1985); 12 Fla. Jur 2d
   Conversion and Replevin § 1 (2d ed. 2020).

   GIVEN                                      ___________________________
   GIVEN AS MODIFIED                          ___________________________
   WITHDRAWN                                  ___________________________
   GRANTED                                    ___________________________
   DENIED                                     ___________________________




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                                            Civil Theft

          The Estate of David Kleiman and W&K bring a claim for civil theft against the
   defendant. A successful claim for civil theft requires that the plaintiffs prove the following
   by clear and convincing evidence:
      1) The defendant obtained, used, or attempted to obtain or use the Estate of David
          Kleiman’s, W&K’s, or the partnership’s property;
      2) With the criminal intent to deprive the Estate of David Kleiman, W&K, or the
          partnership (either temporarily or permanently) of that property or a benefit from
          that property; and
      3) The defendant’s actions were a legal cause of damages to the Estate of David Kleiman
          or W&K.

   ________________________
   Authorities:

   Fla. Stat. §§ 772.11, 812.014; Florida Pattern Jury Instructions for Civil Cases 411.5; Court’s
   Instructions to the Jury, Balthazar Mgmt., LLC v. Beale Street Blues Co., No. 9:17-cv-81214-BB
   (S.D. Fla. Dec. 4, 2018), ECF No. [328], at 19; Heldenmuth v. Groll, 128 So. 3d 895, 896
   (Fla. 4th DCA 2013).

   GIVEN                                      ___________________________
   GIVEN AS MODIFIED                          ___________________________
   WITHDRAWN                                  ___________________________
   GRANTED                                    ___________________________
   DENIED                                     ___________________________




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                 Unjust Enrichment for the Estate of David Kleiman and W&K

         A successful claim for unjust enrichment requires that the Estate of David Kleiman
   and/or W&K prove by a preponderance of the evidence that:
      1) David Kleiman and/or W&K conferred a benefit on the defendant;
      2) That the defendant voluntarily accepted and retained that benefit; and
      3) It would be inequitable or unfair for the defendant to retain the benefit without
          paying the value of the benefit to the Estate of David Kleiman and/or W&K.


   ________________________
   Authorities:

   Fla. Power Corp. v. City of Winter Park, 887 So. 2d 1237, 1242 (Fla. 2004); Swafford v.
   Schweitzer, 906 So. 2d 1194, 1995 (Fla. 4th DCA 2005); Cohen v. Kravit Estate Buyers, Inc.,
   843 So. 2d 989, 992 (Fla. 4th DCA 2003); Court’s Instructions to the Jury, Balthazar Mgmt.,
   LLC v. Beale Street Blues Co., No. 9:17-cv-81214-BB (S.D. Fla. Dec. 4, 2018), ECF No. [328],
   at 19; Kozyrev v. Ponomarenko, No. 0:19-cv-60497-BB (S.D. Fla. Mar. 6, 2020), ECF No. [141],
   at 12.

   GIVEN                                     ___________________________
   GIVEN AS MODIFIED                         ___________________________
   WITHDRAWN                                 ___________________________
   GRANTED                                   ___________________________
   DENIED                                    ___________________________




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                                              Fraud

          The Estate of David Kleiman and W&K have alleged claims against the defendant for
   fraud. For the plaintiffs to prevail on their fraud claims, they must prove the following by a
   preponderance of the evidence:
      1) The defendant made a false statement or omission concerning a material fact;
      2) That he either knew was false, or made it despite not knowing whether it was true or
          false;
      3) The defendant intended that David Kleiman, Ira Kleiman, or W&K would rely on
          the false statement or omission;
      4) David Kleiman, Ira Kleiman, or W&K relied on the false statement or omission; and
      5) The false statement or omission caused damage to the Estate of David Kleiman or
          W&K.


   ________________________
   Authorities:

   Florida Pattern Jury Instruction 409.7 (modified); Court’s Instructions to the Jury, Balthazar
   Mgmt., LLC v. Beale Street Blues Co., No. 9:17-cv-81214-BB (S.D. Fla. Dec. 4, 2018), ECF No.
   [328], at 17; Philip Morris USA, Inc. v. Chadwell, ___ So. 3d ___, No. 3D19-239, 2020 WL
   2892407, at *6 (Fla. 3d DCA June 3, 2020); Poliakoff v. Nat’l Emblem Ins. Co., 249 So. 2d 477,
   478 (Fla. 3d DCA 1971).

   GIVEN                                      ___________________________
   GIVEN AS MODIFIED                          ___________________________
   WITHDRAWN                                  ___________________________
   GRANTED                                    ___________________________
   DENIED                                     ___________________________




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                                      Breach of Fiduciary Duties

          Ira Kleiman, as personal representative for the estate of Dave Kleiman, and W&K
   claim that Dr. Wright breached fiduciary duties owed to each of them. I will now explain how
   this claim is structured. Under Florida law, there are three elements, which I will explain to
   you, that must be proved in order to find there was a breach of fiduciary duty, These elements
   are that:
          (1) a fiduciary duty existed;
          (2) that duty was breached; and
          (3) the plaintiffs suffered damages that were proximately caused by that breach.
   Fiduciary Duty
          A “fiduciary” duty exists when one person places special trust and confidence in
   another person who knowingly accepts that trust and confidence and thereafter undertakes to
   act on behalf of the other party. In other words, a fiduciary duty is an obligation to act in the
   best interest of another party. A mere friendship, alone, is not sufficient to establish a
   fiduciary relationship. Some examples of relationships involving a fiduciary duty include
   attorney/client, trustee/beneficiary, and corporate board member/company shareholders. If a
   relation of trust and confidence exists between the parties (that is to say, where special trust
   and confidence is reposed by one party in another, who accepts it, or where confidence has
   been acquired and abused), that is sufficient as a predicate for relief.
   Breach of Fiduciary Duty
          When someone has a duty to act in the best interest of another party, but intentionally,
   recklessly, or grossly negligently acts contrary to that obligation, it is called a breach of
   fiduciary duty.
          If plaintiffs prove that Dr. Wright owed them a fiduciary duty, to prove a breach of that
   duty, they must demonstrate that Dr. Wright committed one or more of the following acts:
          1. A violation of the criminal law, unless Dr. Wright had a reasonable cause to believe
   his conduct was lawful or had no reasonable cause to believe his conduct was unlawful;
          2. A transaction from which the manager or member of the limited liability company
   derived an improper personal benefit, directly or indirectly;




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          3. In a proceeding by or in the right of the limited liability company, to procure a
   judgment in its favor, or by or in the right of a member, in conscious or willful disregard of
   the best interests of the limited liability company; or
          4. In a proceeding by or in the right of someone other than the limited liability
   company or a member, to commit an act or omission in bad faith, or with malicious purpose,
   or recklessly, or in a manner exhibiting wanton and willful disregard of human rights, safety,
   or property. The term “recklessness” means acting or failing to act in conscious disregard of a
   risk known or so obvious it should have been known, and a risk so great as to make it highly
   probable that harm would proximately result from the act or failure to act.
          The circumstances set forth above are not exclusive and do not preclude the existence
   of other circumstances in which a manager of a manager-managed limited liability company
   or a member in a member-managed limited liability company will be deemed to have breached
   a fiduciary duty.
   Damages Proximately Caused by the Breach
          The breach of fiduciary duty must be the proximate cause of the damage. For an act or
   course of dealing to be the proximate cause of damage, it must be proved that the act or course
   of dealing played a substantial part in producing the injury or damage, that if such conduct
   hadn’t occurred, the injury or damage would not have occurred, and that the injury or
   damage was the necessary or proximate result of the act or course of dealing.
          If you find that Ira Kleiman and W&K did not carry their burden of proving all the
   elements of a breach of fiduciary duty claim that I have just explained to you, then you must
   return a verdict in favor of Dr. Wright.
          On the other hand, if you find that Ira Kleiman, on behalf of the estate of Dave
   Kleiman, or W&K proved, by a preponderance of the evidence, that Dr. Wright owed them a
   fiduciary duty and breached that fiduciary duty, and that the breach was the proximate cause
   of their claimed damages, then you will next consider the issue of the amount of compensatory
   money damages to be awarded to the plaintiffs. You may award each plaintiff you find in favor
   of only those damages shown to be proximately caused by Dr. Wright’s breaches. The dollar
   amount of any damages must be calculated based on all the evidence presented to you and
   must serve as a remedy for the plaintiffs’ losses.




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   ________________________
   Authorities:

   Quinn v. Phipps, 93 Fla. 805, 811, 113 So. 419, 421 (1927); Cassedy v. Alland Inv. Corp., 128
   So. 3d 976, 978 (Fla. 1st DCA 2014); Crusselle v. Mong, 59 So. 3d 1178, 1181 (Fla. 5th DCA
   2011); Doe v. Evans, 814 So. 2d 370, 374 (Fla. 2002); Florida Standard Jury Instructions in Civil
   Cases, Breach of Fiduciary Duty: Legal Cause 451.6(a), August 29, 2019.

   GIVEN                                       ___________________________
   GIVEN AS MODIFIED                           ___________________________
   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




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                          Breach of Partnership Duties of Loyalty and Care

          Ira Kleiman, as personal representative of the estate of Dave Kleiman, alleges that Dr.
   Wright breached duties of loyalty and care owed to Dave Kleiman as partners in an oral
   partnership. Under Florida law, partners owe the fiduciary duties of loyalty and care to each
   other and to the partnership. I will break down the definition of these two duties for you.
   Duty of Loyalty
          The duty of loyalty requires partners to: (1) account to the partnership, and hold for it
   as trustee, the property, profit or benefit derived by the partner for that partnership; (2) refrain
   from dealing with the partnership as a person having an interest adverse to the partnership;
   and (3) refrain from competing with the partnership.
   Duty of Care
          The duty of care is limited to refraining from engaging in grossly negligent or reckless
   conduct, intentional misconduct, or a knowing violation of the law. Gross negligence is an
   indifference to duty amounting to actions that are outside the bounds of reason. In other
   words, gross negligence consists of conduct so reckless or wanting in care that it constitutes a
   conscious disregard or indifference to the life, safety, or rights of persons exposed to such
   conduct.
   Claim of Breach of Duties of Loyalty and Care
          To prevail on this claim, Ira Kleiman, as personal representative of Dave Kleiman’s
   estate, must prove:
          (1) that Dr. Wright owed Dave Kleiman duties of loyalty and care as partners in an
              oral partnership;
          (2) that Dr. Wright intentionally, recklessly, or grossly breached his duty of loyalty and
              care by one of the abovementioned acts; and
          (3) that Dr. Wright’s breaches are the proximate cause of Ira Kleiman’s damages.
          If you find that Ira Kleiman failed to carry his burden of proving that an oral
   partnership existed, or that Dr. Wright did not owe Dave Kleiman duties of loyalty and care, or
   that Dr. Wright owed but did not breach such duties of loyalty and care, or that Ira Kleiman’s
   damages were not the proximate result of a breach by Dr. Wright, then you must return a
   verdict in favor of Dr. Wright.




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          If, on the other hand, you find that Ira Kleiman proved, by a preponderance of the
   evidence, that an oral partnership existed, that Dr. Wright owed Dave Kleiman the duties of
   loyalty and care, that Dr. Wright breached those duties, and that Dr. Wright’s breaches were
   the proximate cause of Ira Kleiman’s damages, then you must return a verdict against Dr.
   Wright for the appropriate claim or claims, and next consider the issue of the amount of
   money damages to be awarded to the estate of Dave Kleiman.
   Compensatory Damages:
          Compensatory damages are those damages shown to be legally (or proximately) caused
   by Dr. Wright’s wrongful action. The dollar amount of any such damages must be calculated
   based on all the evidence presented to you and must serve as a remedy for losses, if any,
   suffered by the estate of Dave Kleiman.
   ________________________
   Authorities:

   Fla. Stat. § 620.8404.

   GIVEN                                       ___________________________
   GIVEN AS MODIFIED                           ___________________________
   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




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                                          Constructive Fraud

          Constructive fraud is similar to a breach of fiduciary duty claim, in that it occurs when
   a duty under a confidential or fiduciary relationship has been intentionally breached. It can
   also occur where an unconscionable advantage has been taken. Constructive fraud may be
   based on intentional misrepresentation or concealment, or may consist of taking an improper
   advantage of the fiduciary relationship at the expense of the confiding, or weaker, party.
   Constructive fraud does not apply where the parties are dealing at arms-length, because there
   is no duty imposed on either party to protect or benefit the other.
   Structure of Claim:
          In order to recover on this claim, plaintiffs must prove:
          (1) the existence of a relationship of trust and confidence;
          (2) that the defendant intentionally took unlawful advantage of that position of trust in
              order to benefit himself; and
          (3) that plaintiffs were injured as a proximate result of the misconduct.
          The existence of a fiduciary or confidential relationship is often evidenced by some
   degree of dependency on one side, and some degree of undertaking on the other side to advise,
   counsel, and protect the weaker party.
          Ira Kleiman and W&K allege that Dr. Wright invited them to trust him as their
   fiduciary, which they then did, and that Dr. Wright violated that duty by taking advantage of
   their trust to make false statements and committed other unlawful acts against them, including
   lying about transferring bitcoins and intellectual property that belonged to them, failing to
   disclose that he was pursuing judgments against W&K in Australia, and that he’d assumed
   control over W&K and its assets as well as the estate’s assets. To prevail on this claim,
   plaintiffs must prove that Dr. Wright had a fiduciary duty to them and unlawfully abused their
   trust, thus taking an improper and unconscionable advantage of that fiduciary relationship to
   benefit himself.
          If you find that Ira Kleiman and W&K did not carry their burden of proving, by a
   preponderance of the evidence, each of the elements of a constructive fraud claim, then you
   must return a verdict in favor of Dr. Wright. If you find that Ira Kleiman and W&K proved, by
   a preponderance of the evidence, all the elements of this claim, then you must find against Dr.
   Wright and next consider the issue of the amount of damages to be awarded to the plaintiffs.


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   Compensatory Damages:
          Compensatory damages are those damages shown to be proximately caused by Dr.
   Wright’s wrongful conduct. Proximate causation essentially consists of two requirements:
   cause in fact and foreseeability. The dollar amount of any such damages must be calculated
   based on all the evidence presented to you and must serve as a remedy for losses, if any,
   suffered by Dave Kleiman and W&K.
   Punitive Damages:
          Under Florida law, you may also award punitive damages for a constructive fraud
   claim. An award of punitive damages may not exceed the greater of three times the amount of
   compensatory damages awarded to each claimant entitled thereto, or $500,000.
          Punitive damages are a form of extraordinary relief for acts and omissions so
   egregious as to jeopardize not only the particular plaintiff in the lawsuit, but the public as a
   whole, such that a punishment—not merely compensation—must be imposed to prevent
   similar conduct in the future. You may only award punitive damages if you determine, based
   on clear and convincing evidence, that Dr. Wright personally committed intentional
   misconduct or gross negligence, which was the proximate cause of the plaintiffs’ loss.
          “Intentional misconduct” means that Dr. Wright had actual knowledge or reason to
   know of the wrongfulness of his conduct and the high probability that injury to Dave Kleiman
   and W&K would result and, despite that knowledge, intentionally or recklessly pursued that
   course of conduct. “Gross negligence” means conduct that was not only negligent, but so
   extremely careless that it constituted a conscious disregard for the life, safety, or rights of
   Dave Kleiman and W&K. Please remember that the clear and convincing evidence standard
   that you must apply is a higher standard than the preponderance of the evidence standard and
   requires you to conclude that the claim is highly probable or reasonably certain, not merely
   more likely true than not true. Clear and convincing evidence is evidence that is precise,
   explicit, lacking in confusion, and of such weight that it produces a firm belief or conviction,
   without hesitation, about the matter in issue.
   ________________________
   Authorities:

   BDO Seidman, LLP v. Banco Espirito Santo Int’l, 38 So. 3d 874, 876 (Fla. 3d DCA 2010); Beers
   v. Beers, 724 So.2d 109, 116-17 (Fla. 5th DCA 1998); Wishinsky v. Choufani, 278 So. 3d 803,
   805 (Fla. 5th DCA 2019); Am. Honda Motor Co. v. Motorcycle Info. Network, Inc., 390 F. Supp.


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   2d 1170, 1179 (M.D. Fla. 2005); Fla. Stat. §§ 768.72; Florida Standard Jury Instructions in Civil
   Cases, Personal Injury and Property Damages: Introduction 501.1(b); Punitive Damages – Non-
   Bifurcated Procedure 503.2, August 29, 2019.


   GIVEN                                        ___________________________
   GIVEN AS MODIFIED                            ___________________________
   WITHDRAWN                                    ___________________________
   GRANTED                                      ___________________________
   DENIED                                       ___________________________




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                                        Constructive Fraud

          The Estate of David Kleiman and W&K have alleged claims against the defendant for
   constructive fraud. For the plaintiffs to prevail on their constructive fraud claims, they must
   prove the following by a preponderance of the evidence:
      1) A relationship of trust and confidence existed between one or more of the plaintiffs
          and Craig Wright;
      2) Wright took advantage of this relationship of trust and confidence; and
      3) Proximately caused one or more of the plaintiffs to suffer damages.


   ________________________
   Authorities:

   Wishinsky v. Choufani, 278 So. 3d 803, 805 (Fla. 5th DCA 2019), reh’g denied (Sept. 16, 2019).

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   WITHDRAWN                                  ___________________________
   GRANTED                                    ___________________________
   DENIED                                     ___________________________




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                                               Civil Theft

   “Clear and Convincing Evidence” Burden of Proof:
           Ira Kleiman and W&K claim that Dr. Wright committed civil theft. This claim requires
   the “clear and convincing evidence” burden of proof. Please remember that the clear and
   convincing evidence standard you must apply is a higher standard than the preponderance of
   the evidence standard and requires you to conclude that the claim is highly probable or
   reasonably certain, not merely more likely true than not true. Clear and convincing evidence is
   evidence that is precise, explicit, lacking in confusion, and of such weight that it produces a
   firm belief or conviction, without hesitation, about the matter in issue.
   Structure of Claim:
           Under Florida law, the elements of civil theft require plaintiffs to establish by clear and
   convincing evidence that:
           (1) the defendant knowingly obtained or used, or attempted to obtain or use, plaintiffs’
   property;
           (2) with criminal intent; that is, with the intent to temporarily or permanently deprive
   plaintiffs of their property; and if so,
           (3) that the defendant’s wrongful conduct was the proximate cause of injury or damage
   to plaintiffs.
           A party’s wrongful conduct is the proximate cause of injury or damage if it directly and
   in natural and continuous sequence produces or contributes substantially to producing the
   injury or damage, so that it can reasonably be said that that if such conduct hadn’t occurred,
   the injury or damage would not have occurred, and that the injury or damage was the
   necessary or proximate result of the conduct.
           To recover on this claim, Ira Kleiman, on behalf of the estate of Dave Kleiman, and
   W&K must prove that:
           (1) Dr. Wright intentionally took bitcoins and intellectual property that belonged to the
               plaintiffs, and did so with criminal intent;
           (2) Dr. Wright intended to permanently deprive the plaintiffs of their property; and
           (3) Dr. Wright’s actions were the legal cause of injury to the plaintiffs.
           If you find that Ira Kleiman and W&K failed to prove by clear and convincing evidence
   each element of civil theft, you must return a verdict in favor of Dr. Wright. If you find for Ira


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   Kleiman or W&K on these claims, you will then consider the issue of the amount of money
   damages to be awarded to each plaintiff.
   Civil Theft Damages:
          You may award the plaintiffs only actual damages shown to be proximately caused by
   Dr. Wright’s wrongful conduct. Damages are the proximate result of the wrongful act of
   another, if you find from clear and convincing evidence that if the wrongful conduct had not
   occurred, the damages would not have occurred, and that the damages were the necessary or
   proximate result of the wrongful conduct. The amount of damages cannot be based on
   speculation or guesswork. The amount of any damages must be calculated based on all the
   evidence presented to you and must serve as a remedy for the plaintiffs’ losses, if any, and not
   a punishment for Dr. Wright’s conduct.



   ________________________
   Authorities:

   Fla. Stat. § 772.11, Florida Standard Jury Instructions in Civil Cases, Civil Theft: Legal Cause
   411.4(a); Issues on Claim 411.5(a), Burden of Proof on Claim 411.6; Civil Theft Damages 411.7,
   August 29, 2019; R.J. Reynolds Tobacco Co. v. Gafney, 188 So. 3d 53, 58 (Fla. 4th DCA 2016).

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   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




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                                                Fraud

   Structure of Claim:
          Ira Kleiman and W&K claim Dr. Wright committed fraud. Under Florida law, there
   are four requirements to establish a claim for fraud:
          (1) a false statement or representation concerning a material fact;
          (2) the representor’s knowledge that the representation is false;
          (3) the representor’s intention that the representation induce another to act on it; and
          (4) resulting injury to the party acting in reasonable reliance on the representation.
          Plaintiffs allege that Dr. Wright made fraudulent statements concerning material facts
   on which Ira Kleiman and W&K reasonably relied, which caused them damage.
          If you find that Ira Kleiman and W&K did not carry their burden of proving, by a
   preponderance of the evidence, each of the four elements of a fraud claim, then you must
   return a verdict in favor of Dr. Wright. If, on the other hand, you find that Ira Kleiman and
   W&K proved their fraud claims by a preponderance of the evidence, then you must return a
   verdict against Dr. Wright for the appropriate claim or claims, and next consider the issue of
   the amount of money damages to be awarded to the plaintiffs.
   Compensatory Damages:
          Compensatory damages are those damages shown to be proximately caused by Dr.
   Wright’s wrongful conduct. The dollar amount of any such damages must be calculated based
   on all the evidence presented to you and must serve as a remedy for losses, if any, suffered by
   Dave Kleiman and W&K.




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   Punitive Damages:

          Under Florida law, you may also award punitive damages for a fraud claim. An award
   of punitive damages may not exceed the greater of three times the amount of compensatory
   damages awarded to each claimant entitled thereto, or $500,000.
          Punitive damages are a form of extraordinary relief for acts and omissions so
   egregious as to jeopardize not only the particular plaintiff in the lawsuit, but the public as a
   whole, such that a punishment—not merely compensation—must be imposed to prevent
   similar conduct in the future.
          You may only award punitive damages if you determine, based on clear and convincing
   evidence, that Dr. Wright personally committed intentional misconduct or gross negligence,
   which was the proximate cause of the plaintiffs’ loss.
          “Intentional misconduct” means that Dr. Wright had actual knowledge or reason to
   know of the wrongfulness of his conduct and the high probability that injury to Dave Kleiman
   and W&K would result and, despite that knowledge, intentionally or recklessly pursued that
   course of conduct. “Gross negligence” means that the conduct was so reckless that it
   constituted a conscious disregard or indifference to the life, safety, or rights of Dave Kleiman
   and W&K. Please remember that the clear and convincing evidence standard that you must
   apply is a higher standard than the preponderance of the evidence standard and requires you
   to conclude that the claim is highly probable or reasonably certain, not merely more likely true
   than not true. Clear and convincing evidence is evidence that is precise, explicit, lacking in
   confusion, and of such weight that it produces a firm belief or conviction, without hesitation,
   about the matter in issue.

   ________________________
   Authorities:

   BDO Seidman, LLP v. Banco Espirito Santo Int’l, 38 So. 3d 874, 876 (Fla. 3d DCA 2010);
   Townsend v. Morton, 36 So. 3d 865, 868 (Fla. 5th DCA 2010) (quoting Johnson v. Davis, 480
   So.2d 625, 627 (Fla. 1985)); Florida Standard Jury Instructions in Civil Cases, Punitive Damages
   – Non-Bifurcated Procedure 503.2, August 29, 2019.

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   GIVEN AS MODIFIED                            ___________________________
   WITHDRAWN                                    ___________________________
   GRANTED                                      ___________________________


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   DENIED                             ___________________________




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                                          Unjust Enrichment

          Ira Kleiman and W&K allege that Dr. Wright unlawfully benefitted from bitcoins and
   intellectual property that he misappropriated for himself. Under Florida law, Ira Kleiman and
   W&K may seek damages, including all monies and properties Dr. Wright obtained by his
   wrongful conduct.
   Structure of Claim:
          To establish the elements of a cause of action for unjust enrichment under Florida law,
   plaintiffs must prove that:
              (1) plaintiffs conferred a benefit on the defendant, who had knowledge for the
              benefit;
              (2) defendant voluntarily accepted and retained the benefit conferred; and
              (3) the circumstances are such that it would be inequitable for the defendant to
                  retain the benefit without paying the value of it.
              To prevail on this claim, Ira Kleiman, on behalf of Dave Kleiman’s estate and
      W&K must prove that:
              (1) they conferred benefits on Dr. Wright;
              (2) Dr. Wright accepted these benefits and retained them; and
              (3) it would be inequitable for Dr. Wright to not compensate the plaintiffs for the
                  value obtained.
          If you find that Ira Kleiman and W&K failed to prove, by a preponderance of the
   evidence, each element of their unjust enrichment claim, you must return a verdict in favor of
   Dr. Wright. On the other hand, if you find for either or both of the plaintiffs on this claim, you
   will then consider the issue of the amount of damages in the form of equitable relief to be
   awarded to the plaintiffs.
   Equitable Relief:
          Under Florida law, in an unjust enrichment claim, when the defendant has acted in
   conscious disregard of the plaintiffs’ rights, the whole of the resulting gain is treated as unjust
   enrichment, even though the defendant’s gain may exceed both (i) the measurable injury to
   the claimant, and (ii) the reasonable value of a license authorizing the defendant's conduct.
   The dollar amount of any such damages must be calculated based on all the evidence
   presented to you and may not be based on speculation.


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   Authorities:

   State Farm Mut. Auto. Ins. Co. v. Medical Service Center of Fla., 103 F. Supp. 3d 1343, 1355
   (S.D. Fla. 2015); Duty Free World, Inc. v. Miami Perfume Junction, Inc., 253 So.3d 689, 693
   (Fla. 3d DCA 2018); Kane v. Stewart Tilghman Fox & Bianchi, P.A., 85 So. 3d 1112, 1115 (Fla.
   4th DCA 2012).


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   GIVEN AS MODIFIED                         ___________________________
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   DENIED                                    ___________________________




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                                         Affirmative Defenses3

          If you find that Ira Kleiman and W&K have proven, by a preponderance of the
   evidence, one or more of their claims against Dr. Wright, then you shall next consider the
   defenses raised by Dr. Wright.
          Under Florida law, an “affirmative defense” is any defense that assumes a civil
   complaint’s alleged claim to be valid but raises other facts that, if true, would attack plaintiffs’
   legal right to bring the claim, or establish a valid excuse or justification for the defendant’s
   challenged conduct. Even though the defendant concedes the legal sufficiency of the alleged
   claim(s), an affirmative defense is something that, if proven, will reduce or eliminate
   plaintiffs’ recovery on a claim even if they successfully established it.
          Dr. Wright is asserting several affirmative defenses, each of which you must carefully
   consider. I caution you that Dr. Wright does not have to disprove Ira Kleiman’s or W&K’s
   claims, but to prevail on any affirmative defense he must prove the defense by a
   preponderance of the evidence. An affirmative defense is proved if you find, after considering
   all evidence in the case, that Dr. Wright has proved that the required facts are more likely true
   than not true.



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   Authorities:

   Long v. Baker, 37 F. Supp. 3d 1243, 1250 (M.D. Fla. 2014) (citing State v. Cohen, 568 So.2d 49,
   51–52 (Fla.1990)., 568 So. 2d 49, 51–52 (Fla.1990); 11th Cir. Pattern Jury Instr. Civil Cases,
   Responsibility for Proof – Affirmative Defense – Preponderance of the Evidence 3.7.2, (2020)

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   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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    The Court has granted summary judgment in favor of plaintiffs on several of Dr. Wright’s
   affirmative defenses. See D.E. 615. However, in an abundance of caution, Dr. Wright includes
   jury instructions for those affirmative defenses for appellate purposes.


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                               Affirmative Defense—Statute of Limitations

          A statute of limitations is a time period set by legislation, during which affected parties
   must take action to enforce their rights or seek redress after injury or damage. The time
   periods vary depending on the claim, and there are rules for determining when the clock
   begins to run on a claim.
          Under Florida law, all of plaintiffs’ claims, except their claim for fraud and
   constructive fraud, accrue when the last element of the claim occurs. I will discuss the accrual
   date for each of plaintiffs’ causes of action and the time period in which the claim must have
   been made:
          Conversion: The statute of limitations applicable to conversion is four years and begins
   to run at the time of the conversion;
          Unjust Enrichment: The statute of limitations applicable to unjust enrichment is four
   years, and the cause of action accrues when the unjust enrichment occurs;
          Breach of Fiduciary Duty: The statute of limitations applicable to breach of fiduciary
   duty is four years, and the cause of action accrues as soon as plaintiffs suffer damages
   proximately resulting from the breach.
          Breach of Partnership Duties of Loyalty and Care: The statute of limitations applicable
   to breach of partnership duties of loyalty and care is four years, and the limitations period
   begins to run as soon as thee partnership suffered damages proximately resulting from the
   breach.
          Fraud: The statute of limitations applicable to fraud is four years, and the limitations
   period begins to run as soon as plaintiffs either knew or should have known that they were
   injured by defendant’s misrepresentations or omissions.
          Constructive Fraud: The statute of limitations applicable to constructive fraud claims
   is four years, and the limitations period begins to run as soon as plaintiffs either knew or
   should have known that they were harmed by defendant’s actions.
          Civil Theft: The statute of limitations applicable to civil theft is five years and begins to
   run at the time of the theft.
             Plaintiff Ira Kleiman filed this case on February 14, 2018. Ira Kleiman alleges the
   existence of an oral partnership from around 2008 to around February of 2011. Dr. Wright
   argues that Ira Kleiman’s claims on behalf of the estate of Dave Kleiman had to have accrued


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   when the alleged oral partnership was concluded in February of 2011. Therefore, Dr. Wright
   argues that the statute of limitations for the bulk of Ira Kleiman’s claims expired in February
   of 2015, four years after the partnership ended, and that plaintiffs’ civil theft claim expired in
   February of 2016.
          W&K was formed in 2011 and was administratively dissolved in 2012, which is when
   its claims, if any, accrued. Therefore, W&K’s civil theft claim expired in 2017, and the
   remainder of its claims expired in 2016.
   Fraudulent Concealment
          An exception to the statute of limitations is the doctrine of “fraudulent concealment”—
   where a plaintiff alleges that a defendant engaged in willful concealment of the claim or cause
   of action using fraudulent means. Such fraudulent actions will delay the beginning of the
   limitation period until the plaintiff either knows or should know that they suffered damages.
          To show fraudulent concealment, a plaintiff must show:
          (1) successful concealment of the cause of action;
          (2) fraudulent means to achieve that concealment; and
          (3) that the plaintiff exercised reasonable care and diligence in seeking to discover the
   facts that form the basis of the claim.
          Furthermore, fraudulent concealment goes beyond a defendant’s mere non-disclosure
   of a fact, it must constitute active and willful concealment. Plaintiffs bear the burden of
   establishing by a preponderance of the evidence that fraudulent concealment should be
   applied.
          Ira Kleiman and W&K claim that the start date for the statutes of limitations for their
   claims should be been delayed because Dr. Wright fraudulently concealed their claims. To
   prevail on these theories, they must show that they acted reasonably and diligently in
   discovering the existence of their claims, and that Dr. Wright actively and willfully concealed
   each claim from them by use of fraudulent means.
          Dr. Wright denies that fraudulent concealment should apply because there is no
   evidence that he actively and willfully concealed any of plaintiffs’ purported claims.
          Moreover, Dr. Wright argues that even if fraudulent concealment applies, the latest
   date on which any of plaintiffs’ causes of action could possibly have accrued was on October
   10, 2013, when plaintiffs received timely notice of the Australian lawsuits against W&K, in



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   which judgment was entered on November 6, 2013. Plaintiffs commenced this case more than
   four years after that judgment was entered, and all but plaintiffs’ claim for civil theft are time-
   barred as a result.

   ________________________
   Authorities:

   Florida Standard Jury Instructions—Contract and Business Cases, Affirmative Defense – Statute Of
   Limitations 416.32 (last visited June 5, 2020); Fla. Stat. § 772.17; Fla. Stat. § 95.11(3);
   Davis v. Monahan, 832 So. 2d 708, 709 (Fla. 2002); Raie v. Cheminova, Inc., 336 F.3d 1278,
   1282 n.1 (11th Cir. 2003); Razor Capital, LLC v. CMAX Fin. LLC, 2017 WL 3481761, at *4
   (S.D. Fla. 2017); Patten v. Winderman, 965 So. 2d 1222, 1224 (Fla. 4th DCA 2007) (citing
   Hearndon v. Graham, 767 So. 2d 1179, 1184 (Fla. 2000)); Small Bus. Admin. v. Echevarria, 864
   F. Supp. 1254, 1260 (S.D. Fla. 1994).



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   GIVEN AS MODIFIED                            ___________________________
   WITHDRAWN                                    ___________________________
   GRANTED                                      ___________________________
   DENIED                                       ___________________________




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                            Affirmative Defense: Statute of Limitations

          The statute of limitations requires a plaintiff to commence his lawsuit within a certain
   time period as prescribed by law. The defendant’s statute of limitations defense is directed
   at all of the plaintiffs’ claims, except the civil theft claim, which means that the statute of
   limitations cannot affect the plaintiffs’ civil theft claim. The plaintiffs’ remaining claims each
   have a four-year statute of limitations. This lawsuit was filed on February 14, 2018.
   Accordingly, to prevail on this statute of limitations affirmative defense, the defendant must
   prove that the plaintiffs’ claims (other than civil theft) accrued before February 14, 2014.
   However, even if the defendant has proved that, his statute of limitations defense would still
   fail if the delay in filing suit was caused by Wright, as I will instruct you now.

   ________________________
   Authorities:

   Fla. Stat. § 95.031; Allapattah Servs., Inc., v. Exxon Corp., No. 91-cv-00986 (S.D. Fla. Feb. 15,
   2001), ECF No. [1387]; see also Allapattah Servs., Inc. v. Exxon Corp., 333 F.3d 1248 (11th Cir.
   2003), aff’d sub nom. Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546 (2005); Yoder v.
   Kuvin, 785 So. 2d 679, 681 (Fla. 3d DCA 2001); Goodwin v. Sphatt, 114 So. 3d 1092, 1094–95
   (Fla. 2d DCA 2013).


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   GRANTED                                      ___________________________
   DENIED                                       ___________________________




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                                  Fraudulent Concealment of Timing Defenses

            You will only consider this exception if you find that defendant has proved his statute
   of limitations defense. The defendant’s statute of limitations defense cannot succeed if he
   fraudulently concealed his misconduct. This exception to the statute of limitations is called
   fraudulent concealment.
            To prove fraudulent concealment, the Estate of David Kleiman or W&K must show
   (1) the defendant fraudulently concealed the causes of action from the Estate of David
   Kleiman and W&K until at least February 14, 2014; and (2) the Estate of David Kleiman or
   W&K exercised reasonable care and diligence in seeking to discover the facts that form the
   basis of the claim.

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   Authorities:

   Razor Capital, LLC v. CMAX Fin. LLC, No. 17-cv-80388-KAM, 2017 WL 3481761, at *5
   (S.D. Fla. Aug. 14, 2017); Berisford v. Jack Eckerd Corp., 667 So. 2d 809, 812 (Fla. 4th DCA
   1995).4

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   WITHDRAWN                                               ___________________________
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   DENIED                                                  ___________________________




   4
     Plaintiffs also have an equitable estoppel defense to the application of the statute of limitations, which they believe
   is properly determined by the Court and so have not included in these proposed instructions.


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                              Affirmative Defense—Statute of Frauds5

          The Statute of Frauds is a legal rule that requires certain contracts to be written and
   properly executed in order to prevent perjury and fraud.
   Structure of Defense:
          Under Florida law, any agreement to perform an activity that the parties expected to
   take longer than one year must be reduced to writing in order to be enforceable, and this
   document must be signed by the party expected to perform the activity. In this case, Ira
   Kleiman alleges that Dave Kleiman and Dr. Wright had an oral partnership from 2008 to
   2011. There is no written partnership contract, and Dr. Wright alleges that if an oral
   partnership had existed, claims regarding it would be unenforceable under Florida’s Statute
   of Frauds because the alleged purpose of the partnership and the circumstances of its alleged
   operation show the parties’ understanding that the work was not intended to be performed
   within one year. Thus, the lack of a written partnership agreement bars claims regarding the
   alleged partnership, and Ira Kleiman may not recover damages allegedly caused by and
   resulting from the alleged existence of an oral partnership between Dave Kleiman and Dr.
   Wright.
          If you find, by a preponderance of the evidence, that Dave Kleiman and Dr. Wright had
   an oral partnership, and that at its inception they intended it to last for more than one year,
   then Ira Kleiman’s oral partnership claims are barred by the Statute of Frauds, and you must
   find for Dr. Wright on this affirmative defense.
          If, however, you find that the preponderance of the evidence does not support Dr.
   Wright’s Statute of Frauds defense, you must find against him on this defense.



   ________________________
   Authorities:

   Fla. Stat. § 725.01; Chernys v. Standard Pac. of S. Fla., G.P. Inc., 2010 WL 11504280, at *4
   (S.D. Fla. 2010).

   GIVEN                                        ___________________________

   5
    The Court has granted summary judgment in favor of plaintiffs on several of Dr. Wright’s
   affirmative defenses. See D.E. 615. However, in an abundance of caution, Dr. Wright includes
   jury instructions for those affirmative defenses for appellate purposes.


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   GIVEN AS MODIFIED                  ___________________________
   WITHDRAWN                          ___________________________
   GRANTED                            ___________________________
   DENIED                             ___________________________




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                                    Affirmative Defense—Laches

          Laches is a doctrine asserted as a defense, which requires proof of (1) lack of diligence
   by the plaintiffs in bringing their claims, and (2) prejudice to defendant. Dr. Wright asserts the
   defense of laches based on the plaintiffs’ failure to bring this suit until February 2018, more
   than four years after Dave Kleiman’s death in April 2013, seven years after the alleged oral
   partnership had ended, and six years after W&K was administratively. Dr. Wright asserts that
   this delay prejudiced him from presenting a fair defense because evidence has disappeared,
   been destroyed by plaintiffs, lost, or is no longer accessible, because witnesses have died,
   disappeared or are no longer available, and because witnesses’ memories have faded and are
   unreliable because of the passage of time. If you find by a preponderance of the evidence that
   plaintiffs lacked diligence in bringing their claims, which caused prejudice to the defendant,
   then you must find in favor of the defendant.
          If, however, you find that the preponderance of the evidence does not support Dr.
   Wright’s laches defense, you must find against him on this defense.




   ________________________
   Authorities:

   Monroe Cty. v. Carter, 41 So. 3d 954, 957 (Fla. 3d DCA 2010); Garcia v. Guerra, 738 So.2d
   459 (3d DCA 1999); Dean v. Dean, 665 So. 2d 244, 247 (Fla. 3d DCA 1995).


   GIVEN                                        ___________________________
   GIVEN AS MODIFIED                            ___________________________
   WITHDRAWN                                    ___________________________
   GRANTED                                      ___________________________
   DENIED                                       ___________________________




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                                    Affirmative Defense: Laches

          Laches is an equitable doctrine that prevents the Estate of David Kleiman and W&K

   from recovering damages on their claims if they have inexcusably delayed asserting those

   claims and the delay has caused undue hardship to the defendant. To prevail on his defense

   of laches, the defendant must separately prove (1) a delay in the plaintiffs’ assertion of their

   claims; (2) that the delay was inexcusable; and (3) that the delay caused the defendant undue

   prejudice.



   ________________________
   Authorities:

   Pandora Jewelers 1995, Inc. v. Pandora Jewelry, LLC, No. 09-cv-61490 (S.D. Fla. May 13, 2011),
   ECF No. [215]; Bowe v. Pub. Storage, No. 14-cv-21559-UU, 2015 WL 11233137, at *2 (S.D. Fla.
   June 26, 2015); Briggs v. Estate of Geelhoed ex rel. Johnson, 543 So. 2d 332, 334 (Fla. 4th DCA
   1989).

   GIVEN                                       ___________________________
   GIVEN AS MODIFIED                           ___________________________
   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




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                                  Affirmative Defense—Payment6

          Dr. Wright asserts that Ira Kleiman’s and W&K’s claims are barred, in whole or in
   part, by the affirmative defense of “payment.”
   Structure of Defense:
          The affirmative defense of “payment” is commonly defined as “delivery and
   acceptance of money or its equivalent in discharge of an obligation.” In this case, Dr. Wright
   states that Ira Kleiman and W&K received payment in the form of shares in an Australian
   company called Coin-Exch, as compensation for rights of Dave Kleiman and W&K.
          If you find Dr. Wright proved by a preponderance of the evidence that Ira Kleiman and
   W&K received and accepted shares in Coin-Exch as a payment in exchange for their rights,
   then you must determine whether that payment for those rights was a full or only partial
   payment, which would be set off against any damages you may find.
          If, however, you find that the preponderance of the evidence does not support Dr.
   Wright’s defense, then you must find against him for this defense.



   ________________________
   Authorities:

   Dirico v. Redland Estates, Inc., 154 So. 3d 355, 358 (Fla. 3d DCA 2014) (quoting Enriquillo
   Export & Import, Inc. v. M.B.R. Indus., Inc., 733 So.2d 1124, 1126 (Fla. 4th DCA 1999)).

   GIVEN                                       ___________________________
   GIVEN AS MODIFIED                           ___________________________
   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




   6
    The Court has granted summary judgment in favor of plaintiffs on several of Dr. Wright’s
   affirmative defenses. See D.E. 615. However, in an abundance of caution, Dr. Wright includes
   jury instructions for those affirmative defenses for appellate purposes.


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                                    Affirmative Defense—Set-Off7

   Structure of Defense:
          Set-off is an equitable doctrine by which a defendant acknowledges the justice of the
   plaintiffs’ demand on the one hand, but on the other sets up a demand of his own to
   counterbalance it either in whole or in part. Under this doctrine, a defendant may set-off
   moneys owed to a plaintiff against moneys received by the plaintiff from the defendant, with
   the result that the offsetting amounts are cancelled and the defendant is obligated to pay
   plaintiff only the net amount, if any.
          Dr. Wright states that Ira Kleiman and W&K’s claims are barred, in whole or in part,
   by the doctrine of set-off because Ira Kleiman accepted shares in Coin-Exch.
          If you find that Dr. Wright has proved this defense by a preponderance of the evidence,
   then you should determine the value the plaintiffs received from Dr. Wright, and reduce any
   damages awarded to them by that amount.
          If, however, you find that the preponderance of the evidence does not support Dr.
   Wright’s defense, then you must find against him for this defense.



   ________________________
   Authorities:

   Lowden v. Northwestern Nat'l Bank & Trust Co., 298 U.S. 160 (1936); S.E.C. v. Elliott, 953 F.2d
   1560, 1572 (11th Cir. 1992); Peacock Hotel, Inc. v. Shipman, 138 So. 44, 47 (Fla. 1931).



   GIVEN                                       ___________________________
   GIVEN AS MODIFIED                           ___________________________
   WITHDRAWN                                   ___________________________
   GRANTED                                     ___________________________
   DENIED                                      ___________________________




   7
    The Court has granted summary judgment in favor of plaintiffs on several of Dr. Wright’s
   affirmative defenses. See D.E. 615. However, in an abundance of caution, Dr. Wright includes
   jury instructions for those affirmative defenses for appellate purposes.


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                                Affirmative Defense—Good Faith8

   Structure of Defense:
          Good faith performance or enforcement of a contract emphasizes faithfulness to an
   agreed common purpose and consistency with the justified expectations of the other party.
          Dr. Wright raises the affirmative defense of good faith against Ira Kleiman’s and
   W&K’s claims. Dr. Wright asserts that with regard to W&K, he acted in good faith to carry out
   his--and Dave Kleiman’s-- mutual intent to create a company in Australia, Coin-Exch, and for
   each to have shareholding in that company. Dr. Wright asserts he carried through on that
   intent through the Australian court proceedings against W&K and by providing shares in
   Coin-Exch to Louis and Ira Kleiman as the beneficiaries of Dave Kleiman’s estate.
          If you find that Dr. Wright has proved, by a preponderance of the evidence, that he
   acted in good faith, then you should find for Dr. Wright on this defense, and reduce any
   damages owed to Ira Kleiman and W&K either partially or wholly.
          If, however, you find that the preponderance of the evidence does not support Dr.
   Wright’s defense, then you must find against him on this defense.



   ________________________
   Authorities:

   Luzinski v. Gosman (In re Gosman), 2005 Bankr. LEXIS 3183, at *52 (Bankr. S.D. Fla. 2005).



   GIVEN                                      ___________________________
   GIVEN AS MODIFIED                          ___________________________
   WITHDRAWN                                  ___________________________
   GRANTED                                    ___________________________
   DENIED                                     ___________________________




   8
    The Court has granted summary judgment in favor of plaintiffs on several of Dr. Wright’s
   affirmative defenses. See D.E. 615. However, in an abundance of caution, Dr. Wright includes
   jury instructions for those affirmative defenses for appellate purposes.


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                        Affirmative Defense—Failure to Mitigate Damages9

          Dr. Wright raises an affirmative defense in which he claims Ira Kleiman and W&K
   failed to mitigate any damages they suffered. Plaintiffs had a duty of care to themselves to
   mitigate their alleged damages. This duty is sometimes said to derive from the doctrine of
   avoidable consequences, which commonly applies in contract and tort actions, and prevents a
   party from recovering damages that the injured party could have reasonably avoided. The
   injured party, however, is only accountable for ameliorative actions that could have been
   accomplished through “ordinary and reasonable care,” without requiring undue effort or
   expense.
   Structure of Defense:
          Under Florida Law, if a plaintiff can, through the exercise of reasonable care, prevent
   or mitigate damages resulting from a defendant's wrongful acts, it is the plaintiff’s duty to do
   so. Thus, a plaintiff cannot recover damages that he or she could reasonably have prevented.
   Here, Dr. Wright alleges that Ira Kleiman declined opportunities to sell the shares in Coin-
   Exch that Dr. Wright had given him, which would have mitigated his damages. Dr. Wright
   claims that because selling the shares to mitigate damages was an ordinary and reasonable act
   Ira Kleiman could have taken, any damages awarded to Ira Kleiman should be reduced by the
   amount that was offered for the shares.
          Dr. Wright also argues that Ira Kleiman and W&K failed to mitigate their damages
   because Ira Kleiman erased and overwrote many of Dave Kleiman’s hard drives and threw
   away his papers, thereby destroying information that could have given him and W&K access
   to any bitcoins that Dave Kleiman had.
          If you find that Dr. Wright has proved, by a preponderance of the evidence, that Ira
   Kleiman failed to mitigate his damages when he received monetary offers for his shares in
   Coin-Exch, but failed to capitalize on those opportunities, then you should find for Dr. Wright
   on this defense, and should reduce any damages owed to Ira Kleiman, as the representative of
   the estate of Dave Kleiman and W&K accordingly.



   9
    The Court has granted summary judgment in favor of plaintiffs on several of Dr. Wright’s
   affirmative defenses. See D.E. 615. However, in an abundance of caution, Dr. Wright includes
   jury instructions for those affirmative defenses for appellate purposes.


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          If you find that Dr. Wright has proved, by a preponderance of the evidence, that Ira
   Kleiman has failed to mitigate his damages by maintaining Dave Kleiman’s papers and
   electronic devices, then you should find for Dr. Wright in this defense, and should reduce any
   damages owed to Ira Kleiman, as the representative of the estate of Dave Kleiman and W&K
   accordingly.
          If, however, you find that the preponderance of the evidence does not support Dr.
   Wright’s defense, then you must find against him on this defense.

   ________________________
   Authorities:

   Schwartz v. NMS Indus., Inc., 575 F.2d 553, 556 (5th Cir. 1978); Sys. Components Corp. v.
   Florida Dept. of Transp., 14 So. 3d 967, 982 (Fla. 2009); Maxfly Aviation, Inc. v. Gill, 605 So.2d
   1297, 1300 (Fla. 4th DCA 1992); Winter v. Am. Auto. Ass'n, 149 So. 2d 386, 387 (Fla. 3d DCA
   1963); Air Caledonie Intern. v. AAR Parts Trading, Inc., 315 F. Supp. 2d 1319, 1337 (S.D. Fla.
   2004).

   GIVEN                                        ___________________________
   GIVEN AS MODIFIED                            ___________________________
   WITHDRAWN                                    ___________________________
   GRANTED                                      ___________________________
   DENIED                                       ___________________________




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                               Affirmative Defense—Unclean Hands10

          Dr. Wright raises the affirmative defense of “unclean hands” against Ira Kleiman and
   W&K. “Unclean hands” is a defense that limits a plaintiff’s ability to recover on a claim when
   he has defrauded and harmed a defendant with respect to the matter in litigation, however
   improper may have been the behavior of the defendant.
   Structure of Defense:
          For a defendant to successfully avail himself of the doctrine of unclean hands, he must
   demonstrate:
          (1) that the plaintiff’s wrongdoing is directly related to the claim against which it is
              asserted; and
          (2) that the defendant was damaged by the plaintiff’s conduct.
          Dr. Wright states that, by discarding and destroying Dave Kleiman’s belongings,
   including in erasing and overwriting Dave Kleiman’s electronic devices, Ira Kleiman has
   unclean hands. Dr. Wright states that he has been harmed by the destruction and disposal of
   digital information and devices that that could have contained key evidence about the matters
   alleged by the plaintiffs in this litigation. Further, Dr. Wright states that Ira Kleiman may
   have disposed of the private keys to any of Dave Kleiman’s bitcoins on those electronic
   devices, which would have ended the dispute that is at issue in this litigation. Thus, Ira
   Kleiman brought this suit with “unclean hands.”
          Moreover, Ira Kleiman failed to sell shares in Coin-Exch and misrepresented to the
   probate court that the estate had not received any assets, even though he had received shares
   in Coin-Exch. He also failed to disclose to the probate court that his claims that Dave Kleiman
   owned bitcoins and Bitcoin-related intellectual property, individually and through W&K.
          Finally, Ira Kleiman made a number of misrepresentations to the Internal Revenue
   Service, including that the estate had no assets despite having received shares in Coin-Exch,
   and despite his claims that Dave Kleiman owned bitcoins and Bitcoin-related intellectual
   property, individually and through W&K.



   10
     The Court has granted summary judgment in favor of plaintiffs on several of Dr. Wright’s
   affirmative defenses. See D.E. 615. However, in an abundance of caution, Dr. Wright includes
   jury instructions for those affirmative defenses for appellate purposes.


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          If you find that Dr. Wright has proved, by a preponderance of the evidence, that Ira
   Kleiman’s actions meet the requirements for an affirmative defense of “unclean hands,” then
   you should find for Dr. Wright in this defense, and reduce any damages owed to Ira Kleiman
   and W&K either partially or wholly.
          If, however, you find that the preponderance of the evidence does not support Dr.
   Wright’s defense, then you must find against him on this defense.



   ________________________
   Authorities:

   Calloway v. Partners Nat. Health Plans, 986 F.2d 446, 450-51 (11th Cir. 1993);
   Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 814 (1945); Cong. Park
   Office Condos II, LLC v. First-Citizens Bank & Tr. Co., 105 So. 3d 602, 609–10 (Fla. 4th DCA
   2013); Dawes-Ordonez v. Forman, 2009 WL 3273898, at *2 (S.D. Fla. Oct. 9, 2009) (citing
   Calloway v. Partners Nat’l Health Plans, 986 F.2d 446, 450–51 (11th Cir. 1993)).

   GIVEN                                      ___________________________
   GIVEN AS MODIFIED                          ___________________________
   WITHDRAWN                                  ___________________________
   GRANTED                                    ___________________________
   DENIED                                     ___________________________




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                                           Damages – Plaintiff

          If you find for the plaintiffs on any of their claims, you must consider the matter of
   damages. Generally, you should award an amount of money that will fairly and adequately
   compensate the Estate of David Kleiman and W&K for their damages. You should consider
   the following types of damages, some of which are only sought for certain claims as identified
   in the verdict form you will receive:
      1) Compensatory damages;
      2) Statutory damages; and
      3) Punitive damages.
   ________________________
   Authorities:

   Court’s Instructions to the Jury, Balthazar Mgmt., LLC v. Beale Street Blues Co., No. 9:17-cv-
   81214-BB (S.D. Fla. Dec. 4, 2018), ECF No. [328], at 31; Jury Instructions, Kozyrev v.
   Ponomarenko, No. 0:19-cv-60497-BB (S.D. Fla. Mar. 6, 2020), ECF No. [141], at 13.

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                     Compensatory Damages

          Compensatory damages are the amount of money that you find to be justified by a
   preponderance of the evidence as full, just, and reasonable compensation for all of the Estate
   of David Kleiman’s damages and W&K’s damages caused by the defendant.


   ________________________
   Authorities:

   Court’s Instructions to the Jury, Balthazar Mgmt., LLC v. Beale Street Blues Co., No. 9:17-cv-
   81214-BB (S.D. Fla. Dec. 4, 2018), ECF No. [328], at 31; Jury Instructions, Kozyrev v.
   Ponomarenko, No. 0:19-cv-60497-BB (S.D. Fla. Mar. 6, 2020), ECF No. [141], at 12.

   GIVEN                                      ___________________________
   GIVEN AS MODIFIED                          ___________________________
   WITHDRAWN                                  ___________________________
   GRANTED                                    ___________________________
   DENIED                                     ___________________________




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                         Damages for the Estate’s Interest in Partnership

          If you find that David Kleiman and the defendant, Craig Wright, were in a
   partnership, you will be asked to find the value of the assets of the partnership that
   correspond to David Kleiman’s partnership interest, which would now belong to his Estate.
   As I explained earlier, absent a contrary agreement, the assets of a partnership are to be
   divided equally among partners. Because the assets of the partnership were never distributed
   to David Kleiman or his Estate at the time of his death, the damages you should award should
   be based on today’s value of the bitcoin, forked assets, and intellectual property you find was
   part of the partnership.
          First, you will be asked to determine the quantity of bitcoin owned by the partnership.
   You will then be asked to decide the current value of that bitcoin, and award the Estate 50%
   of that value unless you find that there was a different specific split agreed to by David
   Kleiman and Craig Wright, in which case you should adjust the portion you award to the
   Estate of David Kleiman to reflect the specific split you have decided.
          Second, you will be asked to determine the quantity of the forked assets owned by the
   partnership. You will then be asked to determine the current value of those forked assets,
   and award the Estate 50% of that value unless you find that there was a different specific
   split agreed to by David Kleiman and Craig Wright, in which case you should adjust the
   portion you award to the Estate of David Kleiman to reflect the specific split you have
   decided.
          Third, you will be asked to determine the intellectual property owned by the
   partnership. You will then be asked to determine the current value of the intellectual
   property, and award the Estate 50% of that value unless you find that there was a different
   specific split agreed to by David Kleiman and Craig Wright, in which case you should adjust
   the portion you award to the Estate of David Kleiman to reflect the specific split you have
   decided.
          Because the assets of the partnership were never distributed to David Kleiman or his
   Estate at the time of his death, the defendant is considered to have acted as a trustee for the
   Estate of David Kleiman and was required to administer the portion of the partnership assets
   belonging to the deceased partner solely in the interests of the deceased partner’s estate, and
   not the interests of the defendant. The defendant had to have administered the partnership


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   assets belonging to the Estate of David Kleiman as a prudent person would in light of the
   circumstances, exercising reasonable care, skill, and caution. Accordingly, it is your job to
   determine if an additional amount of damages to the Estate is warranted based on the
   defendant’s failure to properly manage the assets of the partnership following David
   Kleiman’s death in breach of his duties.



   ________________________
   Authorities:

   Stephens v. Orman, 10 Fla. 9 (1862); Hilgendorf v. Denson, 341 So. 2d 549, 551 (Fla. 1st DCA
   1977) (same); Biers v. Sammons, 242 So. 2d 158, 161 (Fla. 3d DCA 1970); Wiese v. Wiese, 107
   So. 2d 208 (Fla. 2d DCA 1958); 24 Fla. Jur. P’ship § 175; 40 Am. Jur. P’ship § 368; 55 A.L.R.2d
   § 3, p. 1400); Matter of Estate of Moore, 918 N.W.2d 69, 74 (N.D. 2018).

   GIVEN                                      ___________________________
   GIVEN AS MODIFIED                          ___________________________
   WITHDRAWN                                  ___________________________
   GRANTED                                    ___________________________
   DENIED                                     ___________________________

   Plaintiffs reserve the right to ask for an award of the bitcoin and forked assets to the Estate
   of David Kleiman and W&K. It is appropriate for the Estate to receive the bitcoin and forked
   assets as a remedy given that cryptocurrencies are commodities under the Commodities
   Futures Trading Act. See Commodity Futures Trading Comm’n v. My Big Coin Pay, Inc.,
   334 F. Supp. 3d 492, 498 (D. Mass. 2018) (holding that a cryptocurrency was sufficiently
   alleged to be a commodity under the Commodities Futures Trading Act). One expert has
   observed that, “[g]iven that decision, the return of the bitcoin or any other cryptocurrency
   itself will likely be favored instead of a contested and expensive battle over when and how a
   digital asset should be valued.” Steven Harras, In Absence of Guidance, Judges Decide
   Handling of Bitcoin in Bankruptcy, CQ Roll Call, 2020 WL 414618 (Jan. 27, 2020).




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                                        Conversion Damages

          If you find for the Estate of David Kleiman or W&K on conversion, you will
   determine the quantity of assets converted and the value of those assets. Plaintiffs are entitled
   to the highest value of the assets between the time of conversion and the date of your verdict.
   ________________________
   Authorities:

   Moody v. Caulk, 14 Fla. 50, 52–53 (1872); Haddad v. Cura, 674 So. 2d 168, 169 (Fla. 3d DCA
   1996); 2 Florida Forms of Jury Instruction § 61.35 cmt. (2020); see also Wright v. Skinner, 16 So.
   335 (Fla. 1916); Skinner v. Pinney, 19 Fla. 42, 51 (1882); Foley v. Dick, 436 So. 2d 139, 141
   (Fla. 2d DCA 1983).

   GIVEN                                        ___________________________
   GIVEN AS MODIFIED                            ___________________________
   WITHDRAWN                                    ___________________________
   GRANTED                                      ___________________________
   DENIED                                       ___________________________




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                                         Civil Theft Damages

          If you find for the Estate of David Kleiman or W&K on civil theft, you should award
   the Estate of David Kleiman or W&K an amount of money, if any, that the clear and
   convincing evidence shows are the actual damages sustained by the Estate of David Kleiman
   or W&K.


   ________________________
   Authorities:

   Florida Pattern Civil Jury Instruction 411.7.

   GIVEN                                           ___________________________
   GIVEN AS MODIFIED                               ___________________________
   WITHDRAWN                                       ___________________________
   GRANTED                                         ___________________________
   DENIED                                          ___________________________


   It is Plaintiffs’ position that the statutory trebling of these damages should be done by the
   Court and be reflected in the Final Judgment entered in accordance with the jury’s verdict.




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                                     Unjust Enrichment Damages

          If you find for the Estate of David Kleiman or W&K on their claims for unjust
   enrichment, then they are entitled to an amount of money equal to the value of the benefit
   provided to the defendant attributable to his wrongdoing. The plaintiffs are entitled to the
   full benefit conveyed on the defendant even if that amount exceeds the damages the plaintiffs
   have sustained.


   ________________________
   Authorities:

   Tooltrend, Inc. v. CMT Utensili, SRL, 198 F.3d 802, 807 n.5 (11th Cir. 1999) (for unjust
   enrichment, the expectation of compensation is “measured in terms of the benefit to the owner, not
   the cost to the provider”); Bailey v. St. Louis, 268 So. 3d 197, 202 (Fla. Dist. Ct. App. 2018) (“the
   measure of damages for disgorgement is not the profits the appellants might have made absent the
   wrongdoing—the measure of damages for conscious wrongdoing is the appellees’ ‘net profit
   attributable to the underlying wrong.’” (quoting Restatement (Third) of Restitution and Unjust
   Enrichment § 51 (2011))), review denied, No. SC19-698, 2019 WL 7169115 (Fla. Dec. 23, 2019);
   Kane v. Stewart Tilghman Fox & Bianchi, P.A., 85 So. 3d 1112, 1115 (Fla. 4th DCA 2012); Levine
   v. Fieni McFarlane, Inc., 690 So. 2d 712, 713 (Fla. 4th DCA 1997) (“[I]t was the benefit to the
   owner, not the cost to the improver, which would be the basis for an award in an unjust enrichment
   case.”); Restatement (Third) of Restitution & Unjust Enrichment § 3 cmt. c. (2011) (“When the
   defendant has acted in conscious disregard of the claimant’s rights, the whole of the resulting gain
   is treated as unjust enrichment, even though the defendant's gain may exceed both (i) the
   measurable injury to the claimant, and (ii) the reasonable value of a license authorizing the
   defendant's conduct.”).

   GIVEN                                         ___________________________
   GIVEN AS MODIFIED                             ___________________________
   WITHDRAWN                                     ___________________________
   GRANTED                                       ___________________________
   DENIED                                        ___________________________




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                                          Punitive Damages

           If you find for the Estate of David Kleiman or W&K on their conversion, fraud,
    and/or constructive fraud claims, you must decide whether to award punitive damages as
    well. Punitive damages are warranted against the defendant if you find by clear and
    convincing evidence that he was guilty of intentional misconduct or gross negligence, which
    was a substantial cause of damage to the Estate of David Kleiman or W&K. Under those
    circumstances you may, in your discretion, award punitive damages against the defendant.
    If clear and convincing evidence does not show such conduct by the defendant, punitive
    damages are not warranted against him.
           “Intentional misconduct” means that the defendant had actual knowledge of the
    wrongfulness of the conduct and that there was a high probability of injury or damage to the
    Estate of David Kleiman or W&K and, despite that knowledge, the defendant intentionally
    pursued that course of conduct, resulting in injury or damage. “Gross negligence” means
    that the defendant’s conduct was so reckless or wanting in care that it constituted a conscious
    disregard or indifference to the life, safety, or rights of persons exposed to such conduct.
           If you decide that punitive damages are warranted against the defendant, then you
    must decide the amount of punitive damages, if any, to be assessed as punishment against
    the defendant and as a deterrent to others. This amount would be in addition to any
    compensatory damages you award to the plaintiffs. In making this determination, you should
    consider the following:
       1) The nature, extent, and degree of misconduct and the related circumstances,
           including the following:
               a. Whether the wrongful conduct was motivated solely by unreasonable financial
                  gain;
               b. Whether the unreasonably dangerous nature of the conduct, together with the
                  high likelihood of injury resulting from the conduct, was actually known by
                  the defendant;
               c. Whether, at the time of damage, the defendant had a specific intent to harm a
                  plaintiff and the conduct of the defendant did in fact harm a plaintiff;
       2) The financial resources of the defendant.
    You may, in your discretion, decline to assess punitive damages.


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    Authorities:

    Florida Pattern Civil Jury Instruction 503.2; Joint Proposed Jury Instructions, Hall v. Sargeant,
    No. 18-cv-80748-RKA (S.D. Fla. Mar. 13, 2020), ECF No. [407], at 73–74.

    GIVEN                                       ___________________________
    GIVEN AS MODIFIED                           ___________________________
    WITHDRAWN                                   ___________________________
    GRANTED                                     ___________________________
    DENIED                                      ___________________________




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                                Jury Instruction No. 39: Closing Instruction

               Ladies and gentlemen, on behalf of the parties, lawyers and the people of the Southern
    District of Florida, I wish to thank you for your time and consideration of this case.
               I also wish to advise you of some very special privileges enjoyed by jurors.
               No juror can be required to talk about the discussions that occurred in the jury room,
    except by court order. For many centuries, our society has relied upon juries for consideration
    of difficult cases. We have recognized for hundreds of years that a jury’s deliberations,
    discussions and votes should remain their private affair as long as they wish it. Therefore, the
    law gives you a unique privilege not to speak about the jury’s work.
               The lawyers and their representatives are not permitted to initiate any communication
    with you about the trial. You also have the right to refuse to speak with anyone. A request
    may come from those who are simply curious, such as reporters or news agencies, and
    requests from internet blogs, chatrooms, electronic devices, social-media websites, or by any
    other means, or from those who might seek to find fault with you. It will be up to you to decide
    whether to preserve your privacy as a juror.
               [In discharging the jury, the court should advise them of their further responsibilities,
    if any.]


    ________________________
    Authorities:

    Florida Standard Jury Instructions in Civil Cases, Instruction Upon Discharge of Jury 801.4,
    August 29, 2019.

    GIVEN                                           ___________________________
    GIVEN AS MODIFIED                               ___________________________
    WITHDRAWN                                       ___________________________
    GRANTED                                         ___________________________
    DENIED                                          ___________________________




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                                    CERTIFICATE OF SERVICE


           I certify that on September 29, 2020, I electronically filed this document with the Clerk

    of the Court using CM/ECF. I also certify that this document is being served today on all counsel

    of record by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S. Mail.


                                                                /s/ Amanda McGovern______
                                                                AMANDA MCGOVERN




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